Case 2:90-cv-00520-KJM-SCR   Document 2914-3   Filed 08/01/08   Page 1 of 90




                        EXHIBIT E
          Case 2:90-cv-00520-KJM-SCR              Document 2914-3    Filed 08/01/08    Page 2 of 90
                 EDMUND G. BROWN JR.                                  HANSON BRIDGETT MARCUS
               Attorney General of the State of California            VLAHOS & RUDY, LLP
             2 DAVID S. CHANEY
               Chief Assistant .Attorney General                     JERROLD C. SCHAEFER- 39374
            3 FRANCES T, GRUNDER                                     PAUL B• MELLO 179775
               Senior Assistant Attorney General                     425 Market Street, 26 th Floor
            4 ROCHELLE C. EAST                                       San Francisco, CA 94105
               Supervising Deputy Attorney General                   Telephone: (415) 777-3200
            5    LISA AI TILMAN, State Bar No. 126424                Facsimile: (415) 54.1- 9366
               MISHA IGRA, State Bar No. 208711                      j schaefer@hansonbridgett.com
             6 Deputy Attorneys General                              pmello@hansonbridgett.com
                   1300 1 Street, Suite 125                                 RECEIVED
             7    P.O. Box 944255.
                  Sacramento, CA 94244-2550                                  NOV 1 3 2087
            8     Telephone: (916) 324-5388
                  Fax: (916) 32'4-5205
            9    Email: Lisa.Tillman@doj.ca.gov                      Rosen, Bien & Galvan
     10         Attorneys for Defendants
       11                                IN THE UNITED STATES DISTRICT COURT
                                       FOR THE EASTERN DISTRICT OF CALIFORNIA
     12                             AND FOR THE NORTHERN DISTRICT OF CALIFORNIA
                              UNITED STATES DISTRICT COURT COMPOSED          THREE JUDGES
      13                        PURSUANT TO SECTION 2284, TITLE 28 UNITEDOF STATES
                                                                                   CODE
      14
     15         RALPH       COLEMAN, et al.,                 No.: Civ S 90-0520 LKK-JFM P
     16                        Plaintiffs,                   THREE-JUDGE COURT
     17                 VS.

     18         ARNOLD         SCHWARZENEGGER, et al.,
     19                         Defendants.
 20             MARCIANO PLATA, et al.,                      Noi" C01-1351 THE
 21.                            Plaintiffs,                  THREE-JUDGE COURT
                      VS,
 22
                ARNOLD        SCHWARZENEGGER, et al.,        DEFENDANTS' RESPONSE TO
 23                                                          PLAINTIFF COLEMAN,S FIRST
24
                      VS.                                    REQUEST FOR PRODUCTION OF
                                                             DOCUMENTS
                               Defendants
25
26
27
            PROPOUNDING PARTY:
            RESPONDING PARTIES:
                                              PLAINTIFF RALPH COLEMAN
                                              DEFENDANTS TILTON, MAYBERG, GENEST,
                                                                                                      -t
28                                            SCHWARZENEGGER
       Case 2:90-cv-00520-KJM-SCR                              Document 2914-3         Filed 08/01/08       Page 3 of 90
                     SET NO.:                                ONE
                                                                      DEFINITIONS
               3                    In construing these discovery respons.es, the following definitions shall apply:
           4                        1.        "PLAINTIFFS" shall mean class representatives Ralph Coleman, et al., the named
           5         plaintiffs in the action Coleman v. Schwarzenegger, Case No. 90-0520 LKK JFM (E.D. Cal.)
           6         (Coleman).
           7                    2.       •   "DEFENDANTS" shall mean each of the named defendants in the
                                                                                                         case of
           8        Coleman v. Schwarzenegger, including James Tilton in his official capacity                  behalf of the
                                                                                                           on
           9        California Department of Corrections and Rehabilitation (CDCR),    Stephen Mayberg in his
      10            official capacity on behalf of the Department of Mental Health (DMH), Michael Genest in his
      11            official capacity on behalf of the Department of Finance (DOF), and the Governor.
      12                     3.      "PROCEEDING" shall mean the three-judge panel proceeding convened under 28
      13                       Section 2284 in the cases of Coleman and Plata.
      14                OVERALL OBJECTIONS TO                      REQUEST FOR PRODUCTION               OF DOCUMENTS
  15                           1.            DEFENDANTS objects to Plaintiffs' definition of a California Department of
  16                Corrections and Rehabilitation (CDCR) prison and a "prison" to include those housing units
 17                within Department of Mental Health (DMH) facilities that house CDCR                prisoners.
  18               (Interrogatories, p. 2.) That definition mischaracterizes the role of DMH as a provider of housing
  19               for incarcerated inmates. DMH's true role is defined by California Penal Code section 2684
                                                                                                              as a
 20                provider of inpatient mental health treatmentto CDCR •nmate-patlents.. Further, that definition
 21 erroneously assumes the Governor's Emergency Proclamation of October 4, 2006 addressed
22 DMH as a provider of housing for incarcerated inmates. DEFENDANTS will interpret the
                                                                                               terms
23 "CDCR prison" and ,prison" for the purposes of this request to
                                                                    mean those prisons.within the
24 jurisdiction of the California Department of Corrections and Rehabilitation,
                                                                                pursuant to
25                 California Penal Code section 5054.
26                        2.             DEFENDANTS         Object that the discovery seeks INFORMATION that is neither
27                 relevant PLAINTIFFS' claims in this PROCEEDING nor reasonably calculated lead the
                                                                                           to   to
.28
                    DEFENDANTS' RESPONSE TO PLAINTIFF'S FIRST REQUEST FOR •PRODUCTION OF•DOCUMENTS

                                                                           2
Case 2:90-cv-00520-KJM-SCR              Document 2914-3             Filed 08/01/08        Page 4 of 90
    discovery of admissible evidence. PLAINTIFFS have refused to identify what
                                                                                if any claims they
    will be asserting in the PROCEEDING. Consequently, DEFENDANTS
                                                                         object that the discovery
    requires DEFENDANTS to speculate what claims may
                                                               or   may not be asserted by PLAINTIFFS.
                3.     DEFENDANTS object that the requests seek information equally
                                                                                    available           to
   PLAINTIFFS, and are overbroad and unduly burdensome               In accordance with the Coleman and
   Plata remedial orders, PLAINTIFFS receive monthly and other
                                                                         regular, document productions as
   well as other discovery from DEFENDANTS and the Receiver
                                                            appointed in Plata.
              DEFENDANTS state that PLAINTIFFS are already in possession
               4.
                                                                         of
   DEFENDANTS' filed plans for the provision of mental health            beds, for the recruitment and
                                                                        care
   retention of staffing for those mental health beds, and for the implementation
                                                                                   of appropriate
  mental health care in those beds. DEFENDANTS
                                                        assert the deliberative process    privilege to all
  information sought or contained in drafts of those Coleman plans,
                                                                           all dra•s of any budget
  proposals to fund those plans, and inter- and intra-Defendants' emails
                                                                               concerning those plans.
         5.          Given the shortened time for DEFENDANTS'
                                                                      responses to this discovery,
  DEFENDANTS hereby reserve the right to supplement these
                                                                      responses at a later date.
          6.   DEFENDANTS object that the discovery is unduly burdensome
                                                                         to the extent it
  requires DEFENDANTS to produce source codes, meta-data, and data in
                                                                                  a DII   format.
 DEFENDANTS will produce any relevant, non-privileged DOCUMENTS
                                                                in native files or a
 DAT   Opticon format.
         7.          DEFENDANTS object that the discovery is unduly burdensome and
                                                                                   overbroad                 to
 the extent it requires DEFENDANTS to obtain electronic
                                                        and paper documents, from potentially
 hundreds of indivi•duals. DEFENDANTS have identified
                                                          a core group of individuals that are
 likely to possess information most relevant to PLAINTIFFS'
                                                              requests. Consequently,
DEFENDANTS have obtained reasonably accessible electronic and paper
                                                                                  documents from these
individuals only and will not be subsequently expanding this
                                                                    search. The reasonably accessible
electronic and paper documents obtained by DEFENDANTS do
                                                                not include information
contained on backup tapes or legacy data contained
                                                   on systems that are no longer
                                                                                          utilized.
  DEFENDANTS' RESPONSE TO PLAINTIFF'S FIRST           REQUEST FOR PRODUCTION OF DocUMENTS.
                                                  3
      Case 2:90-cv-00520-KJM-SCR                    Document 2914-3         Filed 08/01/08       Page 5 of 90
                        8.       DEFENDANTS     object to the place of Pr0duction specified in the discovery.
          2    DEFENDANTS will produce any non-privileged, responsive DOCUMENTS at the California
          3    Attorney General's Office located at 455 Golden Gate Avenue in San Francisco, California.
          4    Additionally, any production shall be in accordance with a rolling production schedule agreed to
               by the parties and/or ordered by the Court.
                       9.       DEFENDANTS      object that thediscovery seeks DOCUMENTS outside of
               DEFENDANTS' custody and control. To the extent, the discovery seeks information within the
      8.       custody and control of the Receiver appointed in Plata, PLAINTIFFS should direct said
      9        discovery to the Receiver and not DEFENDANTS.
     10                10.      To the extent any request seeks documents prepared, created, or generated by the
 11            Office of the   Inspecior General, DEFENDANTS object to the discovery of such documents on
 12            the basis of the.official information privilege and on the basis of the right to privacy in medical,
 13            mental health, and personnel matters. Non-privileged reports of the Office of the Inspector
 14            Gefieral are available on its public web site.
 15                    RESPONSES AND OBJECTIONS TO                  REQUEST FOR PRODUCTION
 16           REQUEST NO. 1"
 17                   All DOCUMENTS and COMMUNICATIONS that REFER                     or   RELATE to the
 18           implementation of the Court-ordered Revised Program Guide.
 19           RESPONSE TO        REQUES• NO. 1:
2O                    DEFENDANTS          object that this requestseeks information protected from disclosure by
2.1           the attorney-client privilege, attorney work product privilege, deliberative process privilege, self-
22            critical analysis privilege, and official information privilege.
23                     Subject to .and without waiving the foregoing objections, DEFENDANTS respond as
24            follows: PLAINTIFFS have already been pr.ovided documents and reports concerning the
25            implementation of the Revised Program Guide, including and not limited to: (a) draft and final
26            budget change proposal and other funding documents held by and released by the Department of
27            Finance in accord with the August 2006 court order; (b) Health Care Services Division's monthly
28
                DEFENDANTS'      RESPONSE TO PLAINTIFF'S FIRST REQUEST FOR PRODUCTION OF DOCUMENTS

                                                                4
      Case 2:90-cv-00520-KJM-SCR                        Document 2914-3           Filed 08/01/08       Page 6 of 90
                    report on staffing, census and recruitment matters related to the implementation of the Revised
              2     Program Guide; (c) written and oral reports on the implementation of the Revised Program Guide
              3     submitted to Special Master Keating and Plaintiffs' counsel, such as training materials and
          4         videos, memos to the field onthe Revised Program Guide overall as well as specific Subjects
          5         within the Revised Program Guide, including cardiopulm0nary resuscitation, psychiatrist
          6         competency, referral criteria and rates; (d) ongoing monitoring tours of the institutions.
          7         Additional responsive and non-privilege d materials will be provided.
          8        REQUEST NO.2:
          9                 ALL   DOCUMENTS and COMMUNICATIONS that REFER or RELATE to limitations
     10            or   modifications of mental health programming, services, ot treatment from Revised Program
     11            Guide standards at any CDCR PRISON          or   housing unit for any reason during the RELEVANT
 ;12 TIME PERIOD.
     13            RESPONSE TO REQUEST NO. 2:
     14                     DEFENDANTS         object that this request seeks information protected from disclosure by
 15                the attorney-client privilege, attorney work product p•ivilege, deliberative
                                                                                                   process privilege, self-
 16                critical analysis privilege, and official information privilege. Further, the request i•
                                                                                                             vague and
 17                Compound regarding modifications and limitations of programs. The request appears duplicative
 18               of request number 1.
 19                        Subject to and without waiving the foregoing, objections, DEFENDANTS respond as
 20               follows: PLAINTIFFS have already been provided documents and reports concerning mental
21                health programming, services or treatment under the Revised Program Guide, including and not
22                limited to:   (a) draft and final budget change proposal and other funding documents held by and
23                 released by the Department of Finance in accord With the August 2006 court order; (b) Health
24                Care Servicies Division's monthly report on staffing, census and recruitment matters related to
25                the implementation of the Revised Program Guide; (c) written and oral reports
                                                                                                    on the

26                implementation of the Revised Program .Guide submitted to Special Master Keating and
27                Plaintiffs' counsel, such as training materials and videoSl memos to the field on the Revised
28
                   DEFENDANTS' RESPONSE TO PLAINTIFF'S FIRST REQUEST FOR PRODUCTION OF DOCUMENTS
                                                                       5
      Case 2:90-cv-00520-KJM-SCR             Document 2914-3          Filed 08/01/08         Page 7 of 90
         Program Guide overall as well as specific subjects within the Revised Program Guide, including
         cardiopulmonary resuscitation, psychiatrist competel•cy, referral criteria and rates; (d)ongoing
         monitoring tours of the institutions. Additional responsive and non-privileged materials will be
         provided.
         REQUEST NO. 3:
                  ALL DOCUMENTS and COMMUNICATIONS that REFER                            RELATE to limitations
                                                                                    or

              modifications of vocational or educational programming in any CDCR PRISON
         or
                                                                                                   o,r housing
         unit for any reason during the RELEVANT TIME PERIOD.
         RESPONSE TO REQUEST NO. 3:
                  DEFENDANTS        object that this request seeks information protected from disclosure by
        the attorney-client privilege, attorney work product privilege, deliberative
                                                                                        process privilege,
                                                                                                           self-
        critical analysis privilege, and official information privilege. Further, this information is equally
        available to Plaintiffs. The request is impermissibly duplicative of discovery in Hecker
                                                                                                 v.
        Schwarzenegger.
                Subject to and without waiving the foregoing objections, DEFENDANTS respond as
        follows: Plaintiffs .have already been provided documents and reports concerning the
        implementation vocational and education programming, including and not limited to: (a) draft
       and final budget change proposal and other funding documents held by and released by the
       Department of Finance in accord with the August 2006 court order; (b) Health Care Services
       Division's monthly report on staffing, census and recruitment matters related to the
       implementation of the Revised Program Guide; (c) written and oral reports on the
22     implementation of vocational and educational programming submitted to Special Master Keating
23     and Plaintiffs' counsel, such as memos to the field; (d) revisions to the Revised Program Guide
.24    policies and procedures to address this issue; (e) ongoing monitoring tours of the institutions.
25     Additional responsive and non-privileged materials will be provided.
26     ///
27     ///
28
         DEFENDANTS' RESPONSE TO PLAINTIFF'S FIRST REQUEST FOR PRODUCTION OF DOCUMENTS
     Case 2:90-cv-00520-KJM-SCR                 Document 2914-3         Filed 08/01/08       Page 8 of 90
            REQUEST NOI 4:
                     ALL DOCUMENTS         and.COMMUNICATIONS that REFER or RELATE to limitations
            or   modifications of recreati0n or yard time at any CDCR prison or housing unit for
                                                                                                    any reason
            during the RELEVANT TIME PERIOD.
        RESPONSE TO REQUEST NO. 4:
                     DEFENDANTS object that this request seeks information protected from disclosure by
        the attorney-client     privilege, attorney work product privilege, deliberative process privilege, self-
        critical analysis privilege, and official information privilege. Further, this information is
                                                                                                        equally
        available to Plaintiffs.     The request is impermissibly duplicative of discovery in Hecker
                                                                                                        v.
        Schwarzenegger.
                 Subject to and without waiving the foregoing objections, DEFENDANTS respond
                                                                                                        as
        follows: Plaintiffs have already been provided documents and reports concerning the limitations

        or modifications of recreation or yard time, including and not limited to: (a) draft and final

        budget change proposal and other funding documents held by and released by the Department of
      Finance in accord with the August 2006 court order; (b) Health Care Services Division'i-monthly
       report on staffing, census and recruitment matters related to the implementation of the Revised
       Program Guide; (c) written and oral reports on the implementation of the Revised Program Guide
       submitted to Special Master Keating and Plaintiffs' counsel; (d)
                                                                          any documents gathered by
       Plaintiffs' cou.nsel during ongoing monitoring tours of the institutions; (e) Defendants' filed
      October 2006 plan to reduce suicide trends in administrative segregation units by increasing yard
      availability and by allowing electronic appliances, with accompanying memos to the field, and
      with filed December 2006 supplement to plan and supporting declarations; (f) Defendants' filed
      request for an extension of time, with supporting declaraii0n of Deborah Hysen, to submit plan
                                                                                                      a
      to create additional smallmanagement yards and the final filed plan. Additional responsive and
      non-privileged materials will be provided.
      ///
27    ///
28
        DEFENDANTS' RESPONSE TO PLAINTIFF'S FIRST REQUEST FOR PRODUCTION OF DOCUMENTS

                                                           7
     Case 2:90-cv-00520-KJM-SCR               Document 2914-3         Filed 08/01/08       Page 9 of 90
     1     REQUEST NO. 5:
     2             ALL DOCUMENTS and COMMUNICATIONS that REFER                     or   RELATE to the need
     3     additional resources (including but not limited to beds, treatment and office space, clinical and
     4     custody staff, training, computers, or transportation) necessary to deliver constitutionally
     5     adequate mental health care as set forth in the Court-approved Revised Program Guide to
     6 PLAINTIFFS.
     7     RESPONSE TO REQUEST NO. 5:
     8            DEFENDANTS      object that this request seeks information protected from disclosure by
     9 the attorney-client privilege, attorney work product privilege, deliberative process privilege, self-
   10 critical analysis privilege, and official information privilege. Further, this information is equally
   11 available to Plaintiffs. This request is overly burdensome and duplicative of request number
                                                                                                         one.

   12          Subject to and without waiving the foregoing objections, DEFENDANTS respond as
  13 follows: Plaintiffs have already been provided documents and reports concerning the
  14 implementation of the Revised Program Guide, including and not limited to: (a) draft and final
  15 budget change, proposal and other funding documents held by and,released by the Department of
  16 Finance in accord with the August 2006 court order; (b) Health Care Services Division' s
  17 monthly report on staffing, census, and recruitment matters related to the implementation of the
 18 Revised Program Guide; (c) written and oral reports on the implementation of the Revised
 19 Program Guide submitted, to Special Master Keating and Plaintiffs' •ounsel, such
 20 as training materials and videos, memos to the field on the Revised Program Guide overall
                                                                                                      as

21 well as specific subjects within the Revised Program Guide, including cardiopulmonary
22 resuscitation, psychiatrist competency, referral criteria and rates; (d) any document-s gathered by
23 Plaintiffs' counsel during ongoing monitoring tours of the institutions; (e) proposed coordination
24 items submitted to Special. Master Lopes and Plaintiffs' counsel; (f) coordination minutes from
25 the Plata courts. Additional responsive and non-privileged materials will be provided.
26       ///
27       III
28
           DEFENDANTS' RESPONSE TO PLAINTIFF'S FIRST REQUEST FOR            PRoDucTION OF DOCUMENTS
                                                           8
     Case 2:90-cv-00520-KJM-SCR                         Document 2914-3        Filed 08/01/08       Page 10 of 90
                  .REQUEST NO. 6:
           2               ALL DOCUMENTS and COMMUNICATIONS that REFER                      or   RELATE to the need for
           3      additional treatment space or offices to deliveradequate mental health            to PLAINTIFFS
                                                                                             care                   as
           4      set forth in the   Court-approved Revised Program Guide, including but not limited to evaluations
           5      undertaken in connection with the November 13, 2006 memorandum from Peter Farber-
         Szekrenyi and John Dovey regarding "Mental Health Services Delivery System Program Guide
           6
       7 Implementation."
       8 RESPONSE TO REQUEST NO. 6:
       9         DEFENDANTS object that this request seeks information protected from disclosure by
     10 the attorney-client privilege, attorney work product privilege, deliberative
                                                                                       process privilege, self-
     11 critical analysis privilege, and official information privilege. Further, this information is equally
     12          available to Plaintiffs.
     13                 Subject to and without waiving the foregoing objections, DEFENDANTS respond as
     14         follows: Plaintiffs have already been provided documents and reports concerning the additional
     15;        treatment space      or   offices necessary to implement the Revised Program Guide, including and not
 16             limited to: (a) draft and final budget change' proposals and other funding documents held by and
 i7             released by the Department of Finance in accord with the August 2006 court order; (b)
                                                                                                            any
 18             documents gathered during ongoing attorney-participation monitoring tours of the institutions;
 19             (c) written and oral. reports on the treatment space or offices necessary tO implement the Revised
 20            Program Guide which were submitted to Special Master Keating and Plaintiffs' counsel before,
21             during and after Policy Meetings, such as construction charts; (d) proposed coordination items
22             submitted to Special Master Lopes and Plaintiffs' counsel; (e) coordination minutes from the
23             Plata/Coleman courts. Additional responsive and non-privileged materials will be provided,
24             including the workload study.
25
26             I.II
27             ///
28
                 DEFENDANTS' RESPONSE TO PLAINTIFF'S             FIRST REQUEST FOR PRODUCTION OF DOCUMENTS
                                                                    9
     Case 2:90-cv-00520-KJM-SCR                   Document 2914-3          Filed 08/01/08      Page 11 of 90
                REQUEST NO 7:
          2            ALL DOCUMENTS and COMMUNICATIONS                    created, exchanged, or made during the
          3     RELEVANT TIME PERIOD that REFER              or RELATE    to YOUR    consideration of the
      4         recommendations for reducing or limiting the prison population summarized by the CDCR
      5                Panel on Adult Offender Reentry and Recidivism Reduction Programs in its June 29,
      6         2007 Report at Appendix A (page     77).
      7         RESPONSE TO REQUEST NO. 7:
      8                DEFENDANTS          object that this request seeks information protected from disclosure by
      9        the attorney-client privilege; attorney work product privilege, deliberative process privilege, self-
     10        critical analysis privilege, and official information privilege. Further, this information is equally
 11            available to Plaintiffs. The request is impermissibly duplicative of discovery in Hecker v.
 12            Schwarzenegger.
 13                     Subject to and without waiving the foregoing objections, DEFENDANTS respond that
 14            any non-privileged responsive documents will be produced.
 15            REQUEST NO. 8:
 16                   ALL DOCUMENTS and COMMUNICATIONS                    created, exchanged, or made during the
 17            RELEVANT TIME PERIOD that REFER             or   RELATE to .YOUR consideration of the
              recommendations for reducing or limiting the prison population summarized by the Little Hoover
 19           Commission in its January. 25, 2007 Report at Appendix D (page 61).
20            RESPONSE TO REQUEST NO. 8:
21                    DEFENDANTS          object that this request seeks information protected from disclosure by
22            the attomey-client privilege, attorney work product.privilege, deliberative process privilege, self-
23            critical analysis privilege, and official information privilege.
24                     Subject to and without waiving the foregoing objections, DEFENDANTS respond any
25            n0n-privileged responsive documents will be produced.
26            ///
27            ///
28
                DEFENDANTS'. RESPONSE TO PLAINTIFF'S FIRST REQUEST FOR PRODUCTION OF DOCUMENTS

                                                                 10
     Case 2:90-cv-00520-KJM-SCR                          Document 2914-3          Filed 08/01/08         Page 12 of 90
                         REQUEST NO. 9:
               2              ALL DOCUMENTS and COMMUNICATIONS                     created, exchanged, or made during the
               3      RELEVANT TIME PERIOD that REFER or RELATE to the staffing, office
                                                                                        space                    or   treatment
               4     space necessary to provide mental health crisis care to PLAINTIFFS.
           5         RESPONSE TO REQUEST NO. 9:
           6                  DEFENDANTS object that this request seeks information protectedfrom disclosure by
           7         the attorney-client privilege, attorney work product privilege, deliberative
                                                                                                       process privilege, Self-
           8         critical analysis privilege, and. official information privilege. Further, this information is
                                                                                                                       equally
           9         available to Plaintiffs and duplicative of request number
      10                     Subject to and without waiving the foregoing objections, DEFENDANTS respond that
      11            any. non-privileged, responsive documents will be produced.
     12.            REQUEST NO. 10:
     13                      ALL DOCUMENTS OR COMMUNICATIONS                      created, exchanged or made during the
     14             RELEVANT TIME PERIOD that REFER               or   RELATE to the placement or existence of prisoners
     15             on    the MHSDS caseload in NON-TRADITIONAL BEDS.
     16             RESPONSE TO REQUEST NO. 10:
     17                      DEFENDANTS object that this request seeks information protected from disclosure by
 18 the attorney-client privilege, attorney work product privilege, deliberative
                                                                                 process privilege, self-
 19                 critical analysis Privilege and officialinformation privilege. Further, this information is equally
 20                available to Plaintiffs and d•plicative of request for production number
                                                                                                one.
 21                         Subject to and without waiving the foregoing obje.ctions, DEFENDANTS respond
                                                                                                                        as
22                 follows: Plaintiffs have already been provided documents and reports concerning the housing
                                                                                                                             of
23                 Mental Health Services Delivery .System members, including and not limited
                                                                                                        to: (a) draft and
24                 final budget change proposal and other funding documents held by and released by the
25                 Department of Finance in accord with the August 2006 court order; (b) Health Care Services
26. Division's monthly report on staffing, census .and recruitment matters related
                                                                                                        to the
27                 implementation Of the Revised Program Guide; (c) written and oral reports on the
28
                    DEFENDANTS' RESPONSE TO PLAINTIFF'S FIRST REQUEST FOR PRODUCTION OF DOCUMENTS
     Case 2:90-cv-00520-KJM-SCR                        Document 2914-3         Filed 08/01/08      Page 13 of 90
                implementation of the Revised Program Guide submitted to Special Master Keating and
          2     Plaintiffs'counsel, including census, staffing, utilization and referral data on mental health crisis
          3     beds and any memos to the field on such beds; (d) any documents obtained by Plaintiffs during
          4     their ongoing monitoring tours of the institutic•ns; (e) Defendants filed intermediate and     long•
          5     term bed plans filed since March 2006.        Any additional responsive and non-privileged materials
          6    .wili be provided.
      7        REQUEST NO. 11:
      8                   ALL DOCUMENTS that are periodic or monthly reports produced for, in conjunction
      9 with,        or  by COMPSTAT during the RELEVANT TIME PERIOD that REFER or RELATE to the
     10        capacities of CDCR PRISONS and housing units, including but not limited to permanent housing
     11        capacity, NON-TRADITIONAL HOUSING capacity, and budgeted capacity.
     12        RESPONSE TO REQUEST.NO. 11"
 13                       DEFENDANTS          object that this request seeks information protected from disclosure by
 1•-           the attorney-client privilege, attorney work product privi!eg.e deliberative process privilege, self-
 15            critical analysis privilegel and •official information privilege. Further, "this information is equally
 16            available to Plaintiffs. Because this request is not limited to Coleman caseload members, the
 17            request exceeds Plaintiffs' standing as class representatives, violates the non-caseload members'
 18right to privacy, and is not likely to lead to admissible evidence. Further, the request is overly
19 burdensome. Without waiving said objections, Defendants state those document s addressing
20 Coleman inmate-patients that are responsive and non-privileged materials will be provided.
2I REQUEST NO. 12:
22                    ALL DOCUMENTS that are periodic, or monthly reports produced for, in conjunction
23            with, or by COMPSTAT during the RELEVANT TIME PERIOD that REFER or RELATE to the
24            populations of CDCR PRISONS and housing units, including but not limited to the number of
25            inmates by custody level, reception center, general population, administrative segregation units,
26            behavior management units, CCCMS, EOP, and psychiatric Services units.
27            ///
28
                DEFENDANTS' RESPONSE TO PLAINTIFF'S FIRST REQUEST FOR                PRODUCTION OF DOCUMENTS
                                                                    12
     Case 2:90-cv-00520-KJM-SCR                        Document 2914-3             Filed 08/01/08      Page 14 of 90

                    RESPONSE TO REQUESTNO. 12:
              2               DEFENDANTS        object that this request seeks information protected from disclosure by
              3     the attorney-client privilege, attorney work product privilege, deliberative process privilege, self-
          4         critical analysis privilege, and official information privilege. Because this request is not limited
          5         to Coleman    caseload members, the request exceeds Plaintiffs' standing as class representatives,
          6         violates the non-caseload members' right to privacy, and is not likely to lead to admissible
          7         evidence. Further, the request is overly burdensome. Without waiving said objections,
          8         Defendants state those responsive and non-privileged COMPSTAT documents addressing
          9         Coleman inmate-patients will be provided.
     10            REQUEST NO. 13:
     11                    ALL DOCUMENTS that are periodic Or monthly reports produced               for, in conjunction
     12            with, or by COMPSTAT during the RELEVANT TIME PERIOD that N•FER or P•LATE to the
     13            number of lockdown/modified programs during the reporting periods.
  14 • RESPONSE TO REQUEST NO. 13:
 15                             object that this request seeks information protected from disclosure by
                           DEFENDANTS
 16 the attorney-client .privilege, attorney work product privilege, deliberative process privilege, self-
 17 critical analysis privilege, and official information privilege. Because this request is not limited
 18                to Coleman    caseload members,the request exceeds Plaintiffs' standing as class representatives,
 19               violates the non-caseload members' right to privacy, and is not likely to lead to admissible
 20               evidence. Further, the request is overly burdensome. Without waiving said objections,
21                Defendants state those responsive and non-privileged COMPSTAT documents addressing
22                Coleman inmate-patients will be provided.
23                REQUEST NO. 14:
24                        ALL DOCUMENTS that are         periodic   or    monthly reports produced for, in conjunction
25                with, or by COMPSTAT during the RELEVANT TIME PERIOD that REFER or RELATE to
26                attempted suicides and suicides.
27                ///
28
                    DEFENDANTS' RESPONSE TO PLAINTIFF'S FIRST REQUEST FOR PRODUCTION OF DOCUMENTS

                                                                     13
 Case 2:90-cv-00520-KJM-SCR                  Document 2914-3          Filed 08/01/08       Page 15 of 90
          RESPONSE TO REQUEST NO. 14:
      2           DEFENDANTS        object that this request seeks information protected-from disclosure by
      3   the attorney-client privilege, attorney work product privilege, deliberative process privilege, self-
      4   critical analysis privilege, and official information privilege. Further, this information is equally
      5   available to Plaintiffs. Because this request is not limited to completed suicides, the request is
      6   overbr0ad and exceeds the jurisdiction of this case. The request exceeds Plaintiffs' standing as a
      7   representative of the certified Coleman class and so violates the non-caseload members' right to
      8   privacy. The request seek-s data on attempted suicides, .and so is not likely to lead to admissible
     9    evidence. Further, the request is overly burdensome.
 10               Subject to and without waiving the foregoing objections, DEFENDANTS respond as
 11       follows: Defendants state those COMPSTAT documents addressing completed suicides that are
 12  responsive and non-privileged materials will be provided.
  13 REQUEST NO. 15:
  14         ALL DOCUMENTS that are periodic or monthly reports produced for, in conjunction
  15 with, or by COMPSTAT during the RELEVANT TIME PERIOD that REFER or RELATE to
  16 inmate appeals, including total appeals, overdue appeals, appeals per 100 inmates, and inmate
  17 appeals broken down by category.
 18 RESPONSE TO REQUEST NO. 15:
 19          DEFENDANTS object that this request seeks information protected from disclosure by
 20 the attorney-client privilege, attorney work product privilege, deliberative process privilege, self-
21 critical analysis privilege, and official information privilege. To the exte, nt this request is not
22 limited to the appeals Of Coleman caseload members regarding their mental health care, the
23 request exceeds Plaintiff's Standing as a representative of a certified class of Coleman caseload
24 members, violates the non-caseload members' right to privacy, and is not likelyto lead to
25 'admissible evidence. The request exceeds the jurisdiction of this case. Further, the request is
26 overly burdensome. Without waiving said objections, Defendants state responsive and non-
27 privileged COMPSTAT materials concerning Coleman cla.ss members and their appeals of
28
          DEFENDANTS' RESPONSE TO PLAINTIFF'S FIRST REQUEST FOR PRODUCTION OF DOCUMENTS

                                                           14
     Case 2:90-cv-00520-KJM-SCR                         Document 2914-3              Filed 08/01/08      Page 16 of 90
                     mental health care, if any, will be provided.
              2      REQUEST NO. 16:
              3              ALL DOCUMENTS that are periodic or monthly reports produced for, in conjunction
              4      with, or by COMPSTAT during the RELEVANT TIME PERIOD that REFER                             RELATE to
                                                                                                            or
           5        educationa! programs, vocational programs, and inmate work assignments, including capacity,
           6        enrollment, and waitlist.
          7         RESPONSE TO REQUEST NO. 16:
          8                 DEFENDANTS object that this request seeks information protected from disclosure by
          9         the attorney-client privilege, attorney work product privilege, deliberative
                                                                                                      process privilege,     self-
      10            critical analysi s privilege, and official information privilege. Further, this information is
                                                                                                                      equally
     11             available to Plaintiffs. The request is duplicative of discovery in Hecker
                                                                                               v.

     12 Schwarzenegger. To the extent this request is not limited to the educational programs, vocational
     13 programs and inmate work assignments o.f Coleman caseload members, the
                                                                                     request exceeds
     14            PlaintifFs standing as a representative representative of a certified class of Coleman caseload
     15            members, violates the non-caseload members' right to privacy, and is not likely to lead to
     16            -admissible evidence. The request exceeds the jurisdiction 0fthis               Further, the request is
                                                                                     case.
     17            overly burdensome. Without waiving said objections, Defendants state responsive and
                                                                                                       non-
 18                privileged COMPSTAT materials concerning Coleman class members and their educational
 19               programs• vocational programs and inmate work assignments, if any, will be provided.
 20               REQUEST NO. 17:
 21                       ALL DOC.UMENTS that are         perio•lic   or    monthly reports produced for, in conjunction
22                with, or by COMPSTAT during the RELEVANT TIME PERIOD that REFER
                                                                                                          or RELATE     to
23                personnel vacancies, including budgeted positions, filled-positions, and true vacancy totals for
24                custody, education, medical and mental health, support staff, and management.
25                RESPONSE TO REQUEST NO. 17-."
26                        DEFENDANTS object that this reque'st seeks information protected from disclosure by
27                the atto.rney-client privilege, attorney work product privilege, deliberative
                                                                                                    process privilege, self-
28
                   DEFENDANTS' RESPONSE TO PLAINTIFF'S FIRST REQUEST FOR PRODUCTION OF DOCUMENTS

                                                                       15
      Case 2:90-cv-00520-KJM-SCR                          Document 2914-3          Filed 08/01/08       Page 17 of 90
                        critical analysis privilege, and official information privilege. Further, this information is
                                                                                                                          equally
              2         available to Plaintiffs. This request is not limited to documents concerning the staffing
                                                                                                                  necessary
              3         to provide  constitutionally adequate mental health care. Because the request seeks documents
           4            relating to personnel vacancies for the staffing of medical, custody, education, support and
           5            management positions across CDCR, the request exceeds Plaintiff's standing as a representative
          6         of the certified Coleman class and is not likely to lead to admissible evidence. The
                                                                                                         request
          7         exceeds the jurisdiction of this case. Further, the request is overlY burdensome.
          8                Subject to and without waiving the foregoing objections, DEFENDANTS r.espond
                                                                                                              as
          9        follows: Responsive and non-privileged COMPSTAT materials concerning the personnel
                   vacancies for the provision of constitutionally adequate mental health
                                                                                          care to Coleman class
      10
     11            members, if any, will be provided
     12            REQUEST NO. 18:
     13'                      All DOCUMENTS that REFER           or   RELATE TO the counting and/or business rules for
     14            COMPSTAT reports for the CDCR Division of Adult Institutions.
     15            RESPONSE TO REQUESTNO. 18:
     16                       DEFENDANTS object that this request seeks information protected from disclosure by
  17               the attorney,client privilege, attorney work product privilege, deliberative
                                                                                                    process privilege, self-
 18                critical analysis privilege, and official information privilege. This request is not limited
                                                                                                                to
 19                documents concerning the provision of constitutionally adequate mental health                 and so
                                                                                                          care
 2O                exceeds PlaintifFs standing as a representative of the certified Coleman class and is               likely to
                                                                                                                 not
 21               lead to admissible evidence. The request exceeds the jurisdiction of this              Further, the
                                                                                            case.
22                request is overly burdensome.
23                        Subject to and without waiv!ng the foregoing objections, DEFENDANTS respond
                                                                                                      as
24                follows: Responsive and non-privileged COMPSTAT materials concerning the counting and/or
25                business rules for COMPSTAT report involving the provision of Constitutionally adequate
26                mental health care to Coleman class members, if any, will be provided.
27                ///
28
                    DEFENDANTS' RESPONSE TO PLAINTIFF'S FIRST REQUEST FOR PRODUCTION OF
                                                                                        DOCUMENTS
                                                                        16
     Case 2:90-cv-00520-KJM-SCR                Document 2914-3                Filed 08/01/08    Page 18 of 90

            REQUEST NO. 19:
      2             ALL DOCUMENTS and COMMUNICATIONS                          created, exchanged, or made during the
      3    RELEVANT TIME PERIOD that REFER                   or   RELATE to studies performed or commissioned by
      4    YOU    regarding the effects of crowding or overcrowding on PLAINTIFFS or prisoners with
      5    mental illness.
      6    RESPONSE TO REQUEST NO. 19:
      7            DEFENDANTS      object that this request seeks information protected from disclosure by
    8 the attorney-client privilege, attorney work product privilege, deliberative process privilege, self-
    9 Critical analysi s privilege, and official information privilege. This request is not limited to
  10 documents concerning the impact of population on Coleman class members and so exceeds.
  11 PlaintifFs standing as a representative of the certified class of Coleman casel(•ad members and is
  12 not likely to lead to. admissible evidence. The request exceeds the jurisdiction of this case.
  13 Further, the request is overly burdensome. The request is vague as to the term crowding and
                                                                                                        so

 14 Defendants will interpret the term to address the overall CDCR population.
 15            Subject to and without waiving the foregoing objections, DEFENDANTS respond as
 16 follows: Responsive and non-privileged materials concerning the impact of the overall
 17 populationof CDCR on Coleman class members, if any, will be provided.
 18 REQUEST NO. 20:
 19               ALL   DOCUMENTS. and COMMUNICATIONS created, exchanged, or made during the
20        RELEVANT TIME PERIOD that REFER               or    RELATE     to   community treatment or community
21        beds for prisoners or parole violators vcith mental illness..
22        RESPONSE TO REQUEST NO. 20:
23                DEFENDANTs objectthat this request seeks information protected from disclosure b}"
24        the attorney-client privilege, attorney work.product privilege, deliberative process privilege, self-
25        critical analysis privilege, and official information privilege. Further, this information is equally
26        available to Plaintiffs in thatany contracts for such beds are public records. To the extent
27        Plaintiffs! counsel in Valdivia v. Schwarzenegger were provided with documentation in in the
28
           DEFENDANTS' RESPONSE TO PLAINTIFF'S FIRST REQUEST FOR PRODUCTION OF DOCUMENTS

                                                                  17
      Case 2:90-cv-00520-KJM-SCR                    Document 2914-3           Filed 08/01/08        Page 19 of 90
           t                                               obtaining community based treatment beds as part of
                  context of that case concerning Defendants

          2 remedial sanctions, those same Plaintiffs' counsel here already .have such documentation.
                                                                                                           This
             request impermissibly seeks discovery concerning community treatment beds for both inmates
          4 and parolees. Because this request is not limited to documents concerning community treatment
         5 beds or community beds for Coleman class members who
                                                                          are inmates of CDCR, the request

         6 exceeds PlaintifFs standing as a representative of the certified class of Coleman
                                                                                                 caseload
        7 members who are inmates of CDCR and is not l!kely to lead to admissible evidence.
                                                                                                      The request
            exceeds the scope/jurisdiction of this case. Further, the request is..overly burdensome.
        9           Subject to and without waiving the foregoing objections, DEFENDANTS respond
                                                                                                           as
      10 follows: Responsive and non-privileged materials concerning community
                                                                                          treatment beds for
      11 Coleman •lass members who are inmates of CDCR, if                 will beprovided.
                                                                     any,
      i2 REQUEST NO. 21
      13                 ALL DOCUMENTS and          COMMUNICATIONS that REFER              or   RELATE to
      14        the provision of yard or exercise time to COLEMAN CLASS MEMBERS                  during the
     15         RELEVANT TIME PERIOD.
     16         RESPONSE TO REQUEST NO. 21
     17                  DEFENDANTS object that this request seeks information protected from disclosure by
 18             the attorney, client privilege, attorney work product privilege, deliberative
                                                                                                process privilege, self-
  19            critical analysis privilege, and official information privilege. Further, this information is equally
 20             available to Plaintiffs.
 21                    Subject to and without waiving the foregoing objections, DEFENDANTS respond
                                                                                                    as
 22            follows: Responsive and non-privileged documents concerning the provision of yard
                                                                                                 exercise     or
 23            time to Coleman class members have already been provided, including Defendants'
                                                                                               plan to
24         reduce suicide trends in administrative segregation units, Defendants' small
                                                                                        management yard
25         plan, and Special Master Keating's reports on both plans. Any additional non,privileged and
26         responsive documents will be provided.
.27        //
28
                 DEFENDANTS' RESPONSE TO PLAINTIFF'S FIRST REQUEST FOR PRODUCTION
                                                                                  OF DOCUMENTS

                                                                 18
  Case 2:90-cv-00520-KJM-SCR                   Document 2914-3          Filed 08/01/08            Page 20 of 90

           REQUEST NO. 22:
      2             ALL DOCUMENTS and COMMUNICATIONS                    that REFER        or   RELATE to the use of
      3    alternative sites to licensed mental health crisis beds for prisoners in need of crisis beds or
      4    suicide precautions, including but not limited to outpatient housing units (OHUs), mental health
      outpatient housing units (MOHUs) and holding cells,.during the RELEVANT TIME PERIOD.
      5
    6 RESPONSE TO REQUEST NO. 22:
    7          DEFENDANTS object that this request seeks information protected from disclosure by
    8 the attorney,client privilege, attorney work product privilege, deliberative process privilege, self-
    9 critical analysis privilege, and official information privilege.
  10.          Subject to and without waiving the foregoing objections, DEFENDANTS respond as
 "11- follows: Responsive and non-privileged materials concerning the use of alternative sites to
 12 licensed mental health crisis beds have already been provided, including certain ,Division of
 13 Health Care Services Division memoranda to the field, Defendants' plan to reduce suicide trends
 14 in administrative segregation units, Defendants' bed plans and Special Master Keating's reports
 15 on those plans. Any additional non-privileged and responsive documents will be provided.
 16 REQUEST NO. 23:
 17                ALL DOCUMENTS and COMMUNICATIONS that REFER                       or    RELATE      to the use of

 18       or   referral to mental health crisis beds for inmates not previously identified on the MHSDS
 19       caseload during the RELEVANT TIME PERIOD.
 20       RESPONSE TO REQUEST NO. 23:
21                 DEFENDANTS         object that this request seeks information protected from disclosure by
22        the attorney-'client privilege, attorney work product privilege, deliberative process privilege, self-
.23       critical analysis privilege, and official information privilege. Further, this information is equally
24        available to Plaintiffs. The request violates non-caseload members' right to Privacy.
25                Subject to and without waiving the foregoing objections, DEFENDANTS respond as
26        follows: Responsive and non-prijcileged materials concerning the use of alternative sites to
27        licensed mental health crisis beds have already been provided, including Defendants' plan to
28
           DEFENDANTS'       RESPONSE TO PLAINTIFF'S FIRST REQUEST FOR PRODUCTION OF DOCUMENTS
                                                           19
     Case 2:90-cv-00520-KJM-SCR                    Document 2914-3         Filed 08/01/08        Page 21 of 90
                reduce suicide trends in administrative segregation units, Defendants' monthly reports to Special
          2     Master Keating and Plaintiffs' counsels, Defendants' bed plans and Special Master Keating's
          3    reports on those plans.
          4    REQUEST NO. 24:
          5             ALL DOCUMENTS and COMMUNICATIONS that REFER                      or   RELATE to •/he number
          6    of CCCMS, EOP        or   other COLEMAN .CLASS MEMBERS housed.in Reception Centers during
          7    the RELEVANT TIME PERIOD.
          8    RESPONSE TO REQUEST NO. 24:
      9                DEFENDANTS          object that this request seeks .information protected from disclosure by
     10        the attorney-client privilege, attorney work product privilege, deliberative process privilege, self-
     11        critical analysis privilege, and official information privileg e.
 12                     Subject to and without waiving the foregoing objections, DEFENDANTS respond as
 13           follows: Defendants state that any non-privileged and responsive documents showing that sought
 14           data will be provided.
 15           REQUEST NO. 25:
 16                    ALL DOCUMENTS and COMMUNICATIONS that REFER                      or    RELATE   to YOUR or
 17           the CDCR's     ability to transfer CCCMS and EOP inmates out of Reception Centers according to
 18           the timeframes established in the Revised   Program Guide (60 days for EOP and 90 days for
 19           CCCMS).
20            RESPONSE TO REQUEST NO. 25:
21                    DEFENDANTS          object that this request seeks information protected from disclosure by
22            the attorney-client privilege, attorney work product privilege, deliberative process privilege, self-
23            critical analysis privilege, and official information privilege. Further, this information is equally
24            available to Plaintiffs.
25                    Subject to and without waiving the .foregoing objections, DEFENDANTS respond as
26            follows: Documents showing that sought data has already been provided in the form of
27            Defendants' plan to provide Enhanced Outpatient Program care in Reception (EOP in
28
               DEFENDANTS' RESPONSE TO PLAINTIFF'S FIRST REQUEST FOR PRODUCTION OF DOCUMENTS

                                                               20
     Case 2:90-cv-00520-KJM-SCR                        Document 2914-3          Filed 08/01/08       Page 22 of 90

                   Reception Plan) and in the form 0fthe CDCR-HCSD monthly reports. To the extent Defendants
              2    are preparing an enhancement of the EOP in Reception Plan in response to the Coleman court's

          3        October 3, 2007 recent order, that pending work is subject to the deliberative process privilege
          4        and the drafts, if any, of the original plan are subject to the same privilege. Any responsive,
                                                                                                                   non-

          5        privileged documents will be produced.
          6        REQUEST NO. 26:
          7               All DOCUMENTS .and COMMUNICATIONS that REFER                      or   RELATE to the
                   implementation of Court-ordered mental health care programs in Reception Centers during the
          9        RELEVANTTIME PERIOD.
     10            RESPONSE TO REQUEST NO. 26:
     11                   DEFENDANTS          object that this request seeks information protected from disclosure by
     12           the attorney-client orivilege, attorney work product privilege, deliberative process ,,,-•,,•,•-,• o•I•
     13           critical analysis Privilege, and official information privilege. Further, this information is equally
 14               available to Plaintiffs.
 15                       Documents showing that sought data has already been provided in the form of Defendants
 16               plan tO provide Enhanced Outpatient Program care in Reception (EOP in Recept, ion Plan) and in
 17               the form of the CDCR-HCSD        monthly reports. To the extent Defendants are preparing an
 18               enhancement of the EOP in Reception Plan in response to the Coleman court's October 3, 2007
 19               order, that pending work is subject to the deliberative process privilege and the drafts, if any, of
20                the original plan are subject to the same privilege. Any responsive, non-privileged documents
21                will be produced.
22                REQUEST NO. 27:
23                       All DOCUMENTS and COMMUNICATIONS that REFER, or RELATE to actions,
24                programs, policies, or procedures that YOU have adopted since October 2006 that YOU contend
25                will limit or reduce the number of COLEMAN CLASS MEMBERS housed in CDCR PRISONS.
26                RESPONSE TO REQUEST NO. 27:
27                       DEFENDANTS          object that ihis request seeks information protected from disclosure by
28
                   DEFENDANTS' RESPONSE TO PLAINTIFF'S           FIRST .REQUEST FOR PRODUCTION OF DOCUMENTS
                                                                    21
     Case 2:90-cv-00520-KJM-SCR                        Document 2914-3           Filed 08/01/08          Page 23 of 90
                     the attorney-client privilege, attorney work product privilege, deliberative
                                                                                                       process privilege, self-
           2         critical analysis privilege, and official information privilege
          3                  Subject to and without waiving the foregoing objections, DEFENDANTS respond as
          4          follows: Any responsive, non-privileged documents will be produced.
          5          REQUEST NO. 28:
          6                 ALL DOCUMENTS and COMMUNICATIONS that REFER                          or   RELATE to the
          7          original determination ofMHSDS (EOP, CCCMS, MHCB) housing capacity for each CDCR
          8         PRISON housing unit at the time when the MHSDS housing capacity was first created.
      9             RESPONSE TO REQUEST NO. 28:
     10                      DEFENDANTS object that this request seeks information protected from disclosure by
     11             the attorney-client privilege, attorney work product privilege, deliberative process privilege, self-
     12             critical analysis privilege, and official information privilege. This request is overbroad by
     13             seeking documents since the creation of Mental Health Services Delivery System housing. The
     14             request is vague as to the terms 'housing unit' and 'original stated capacity' for Coleman class
                                                                                                                                i
 15                 members.   Indeed, certain prisons were built before the commencement and/or completion of the
 16                 Coleman. lawsuit and s6 the term original stated capac.ity for housing Coleman inmates is
                                                                                                                       vague,
 17                 ambiguous and essentially inapplicable to those prisons. Further, the information responsive to
 18             this interrogatory is equally available to Plaintiffs from the (a) inspection tours undertaken prior
 19             to, trial, (b) the_ monitoring tours provided since the inception of the remedial process and
 20            continuing to date, (c) the Health Care Services Division's monthly reports to th e Special Master,
21             (d) the staffing, construction and.funding reports provided, at semi-annual meetings with the
22             Special Master and Plaintiffs (known as All Parties and/or Policy Meetings).
23             REQUEST NO. 29:
24                        ALL DOCUMENTS and COMMUNICATIONS that REFER                             RELATE to the
                                                                                            or

25             CDCR's stated capacity for housing MHSDS            (EOP, CCCMS, or MHCB) inmates for each
26             CDCR PRISON          housing unit over the past five years.
27             //
28
                    DEFENDANTS' RESPONSE TO PLAINTIFF'S FIRST REQUEST FOR PRODUCTION OF DOCUMENTS

                                                                     22
     Case 2:90-cv-00520-KJM-SCR            Document 2914-3          Filed 08/01/08        Page 24 of 90
          RESPONSE TO REQUEST NO. 29:
      2          DEFENDANTS      object that this request seeks information protected from disclosure by the
    3 attorney-client privilege, attorney work product privilege, deliberative process privilege, self-critical
    4 analysis privilege, and official information privilege. This request is overbroad by providing five-
                                                                                                        a

    5 year time period for production. Certain prisons were built before the commencement and/or
      completion of the Coleman lawsuit and so the term 'stated capacity' for housing Coleman inmates
   7 is vague, ambiguous and essentially inapplicable to those prisons. Further, •the information
   8 reslSonsive to this interrogatory is equally available to Plaintiffs from the (a) inspection tours
   9 undertaken prior to trial, (b) the monitoring tours provided since the inception of'the remedial
 10 process and continuing to date, (c) the Health Care Services Division's monthly reports to the
 11 Special Master, (d) the staffing, construction and funding reports provided at semi-annual meetings
 12 with the Special Master and Plaintiffs (known as All Parties and/or Policy Meetings).
 13 REQUEST NO. 30:
 14             ALL DOCUMENTS and COMMUNICATIONS that REFER                      or   RELATE to the
 15       CDCR's stated capacity for housing MHSDS     (EOP, CCCMS, or MHCB) inmates for each
 16       CDCR PRISON   housing unit over the past five years.
  17 RESPONSE TO REQUEST NO. 30:
  18         DEFENDANTS object that this request seeks information protected from disclosure by the
  19 attorney-client privilege attorney work product privilege, deliberative process privilege, self-critical
 20 analysis privilege, and official information privilege. This request is overbroad by providing a five-
 21 year time period for production. The term 'stated capacity' for housing Coleman inmates is vague,
 22 ambiguous. The non-privileged information responsive to this interrogatory is equally available to
23 Plaintiffs from the (a) inspection tours undertaken prior to trial, (b) the monitoring tours provided
24 since the inception of the remedial process and continuing to date, (c) the Health Care Services
25 Division's monthly reports to the Special Master, (d) the staffing, construction and funding reports
26 provided at semi-annual meetings with the Special Master and Plaintiffs (known as All Parties and/or
27 Policy Meetings), (e) the Governor's Budget and May Revise, (f)the budget documents produced
28
          DEFENDANTs' RESPONSE TO PLAINTIFF'S FIRST REQUEST FOR PRODUCTION OF DOCUMENTS
                                                       23
     Case 2:90-cv-00520-KJM-SCR                       Document 2914-3            Filed 08/01/08        Page 25 of 90
                 in response to the Coleman court's June 2006 order.
          2      REQUESTNO. 31"
          3               ALL DOCUMENTS and COMMUNICATIONS that REFER                                RELATE't0 mental
                                                                                               or

          4      health staffing studies, including workload studies, undertaken            commissioned by YOU that
                                                                                       or

          analyze the number and types of staff (clinical, custody, and support) required to implement the
          5
        6 Court-ordered Revised Program Guide.
        7 RESPONSE TO REQUEST NO. 31:
        8         DEFENDANTS object that this request seeks information protected from disclosure.by the
       9 attorney-client privilege, attorney work pro'duct privilege, deliberative
                                                                                   process privilege, self-critical
      10 analysis privilege, and official information privilege. Subject to and without waiving the foregoing
     11 objections, DEFENDANTS respond as follows: The final workload study commissioned by CDCR
     12 Health Care Services Division and sought by Plaintiff Coleman at the last Coleman Policy Meeting
     13 will be produced.
     14 REQUEST NO. 32:
     15                  ALL DOCUMENTS            and COMMUNICATIONS that REFER                      RELATE
                                                                                                or            to workload
     16        stu•ties undertaken or commissioned by YOU that analyze treatment and offic•
                                                                                            space needed to'
 17            implement the Court-ordered Revised Program Guide.
 18            RESPONSE TO REQUEST NO. 32:
 19                     DEFENDANTS object that this request seeks information Protected from disclosure bythe
 20           attorney-client.privilege, attorney work product privilege, deliberative process privilege, self-critical
21            analysis privilege, and. official information privilege.
22                   Subject to and without Waiving the foregoing objections, DEFENDANTS respond as follows:
23            Any non-privileged and responsive documents will be produced.
24            REQUEST NO. 33:
25                     ALL DOCUMENTS and COMMUNICATIONS                        created, exchanged, or made during
26            the RELEVANT TIME PERIOD that REFER                 or    RELATE to requests for additional resources or
27            staff (clinical,   Custody, and support) for the provision of mental health treatment, including but not
28
                DEFENDANTS'        RESPONSE TO PLAINTIFF'S FIRST REQUEST FOR PRODUCTION OF DOCUMENTS
                                                                  24•
      Case 2:90-cv-00520-KJM-SCR                           Document 2914-3          Filed 08/01/08        Page 26 of 90
                         limited .to budget change proposals and draft budget change proposals.
              2          RESPONSE TO REQUEST NO, 33"
              3                 DEFENDANT'S object that this request seeks information protected from disclosure by the
          4            attorney-client privilege, attorney work product privilege, deliberative process privilege, self-critical
      5                analysis privilege, and official information privilege. This request is overbroad by providing five-
                                                                                                                         a
          6            year time period for  pr0ducti•n.  Te term 'stated capacity' for housing Coleman inmates is vague,
          -7           ambiguous. The non-privileged information responsive to this interrogatory is equally available to
          8            Plaintiffs from the (a) inspection tours undertaken prior to trial, (b) the monitoring: tours provided
          9            since the inception of the remedial process and continuing to date, (c) the Health Care Services
     10             Division's montlily reports to the Special Master, (d) the staffing, construction and funding
                                                                                                                        reports
     11             provided at semi-annual meetings with the Special Master and Plaintiffs (known as All Parties and/or
     12             Policy Meetings), (e) the Governor's Budget and May Revise, (f) the budget documents produced
     13             in response to the Coleman      court's June 2006 order.
     14             REQUEST NO. 34:.
     15                        ALL DOCUMENTS and COMMUNICATIONS                     created, exchanged, or made during the
     16            RELEVANT TIME PERIOD that REFER                  or   RELATE to overcrowding.
 17                RESPONSE TO REQUEST NO. 34:
 18                           DEFENDANTS object that this request seeks information protected from disclosure by the
 i9 attorney-client privilege, attorney work product privilege, deliberative process privilege, self-critical
 20 analysis privilege, and official information privilege. This request is impermissibly
                                                                                                          and      vague
21                 overbroad by failing to properly define the word 'overcrowding' in terms of
                                                                                                     any indicated population
22                or     number.
23                       Subject to and without waiving the foregoing objections, DEFENDANTS respond as follows:
24                Any non-privileged and responsive documents will be produced.
25                ///
26                ///
27                /.//
28
                    DEFENDANTS' RESPONSE TO PLAINTIFF'S FIRST REQUEST FOR PRODUCTION OF DOCUMENTS

                                                                         25
      Case 2:90-cv-00520-KJM-SCR                         Document 2914-3           Filed 08/01/08         Page 27 of 90
                      REQUESTNO. 35:
               2                ALL DOCUMENTS and COMMUNICATIONS                    created, exchanged, or made from
               3      January 1, 2005 to present that REFER or RELATE to YOUR ability to timely place
           4          COLEMAN CLASS MEMBERS in MHSDS beds at each level of
                                                                           care (CCCMS, EOP,
           5         MHCB, DMH), including delays in referral, endorsement and transfer.
           6         RESPONSE TO REQUEST NO. 35:
           7                 DEFENDANTS object that this request seeks information protected from disclosure l•y the
           8         attorney-client privilege, attorney work product privilege, deliberative process privilege, self-critical
          9          analysis privilege, and official information privilege. Further, this information is equally available
      10             to Plaintiffs.

      11                     Subject to and without waiving the foregoing objections, DEFENDANTS respond follows:
                                                                                                              as
     12             The non-privileged information responsive to this interrogatory is equally available Plaintiffs
                                                                                                         to         from
     13             the (a) inspection tours undertaken prior to trial, (b) the monitoring
                                                                                                tours provided since the
     14             inception of the remedial process and continuing to date,-(c) the Health Care Services Division's
     15             monthl.y reports to the Special Master, (d) the reports provided at semi-annual meetings with the
     16             Special Master and Plaintiffs (known as All Parties and/or Policy Meetings). Any additional
     17             responsive and non-privileged information will be provided.
 18                 REQUEST NO. 36:
 19                          ALL DOCUMENTS and COMMUNICATIONS that REFER                            RELATE to YOUR
                                                                                               or

 20                 ability to transfer COLEMAN CLASS MEMBERS housed in administrative segregation
                                                                                                                   or
 21                administrative segregation overflow housing units for non-disciplinary                 from October
                                                                                                reasons
22                  17, 2006 to present.
23                 RESPONSE TO REQUEST NO. 36:
24                          DEFENDANTS. object that this request seeks information protected from disclosure by the
25                 attorney-client privilege, attorney work product privilege, deliberative process privilege, self-critical
26                 analysis privilege, and official information privilege. Further, this information is equally available
27                 to Plaintiffs.

28
                     DEFENDANTS' RESPONSE TO PLAINTIFF'S. FIRST REQUEST FOR PRODUCTION OF
                                                                                          DOCUMENTS
                                                                      26
Case 2:90-cv-00520-KJM-SCR                Document 2914-3          Filed 08/01/08           Page 28 of 90
                Subject to and without waiving the foregoing objections, DEFENDANTS respond follows:
                                                                                                     as
        The non-privileged information resPonsive to this interrogatory is equally available
                                                                                             to Plaintiffs from
        the (a) inspection tours undertaken prior to trial, (b) the monitoring
                                                                                    tours proyided since the
        inception of the remedial process and continuing to date, (c) the Health Care Services Division's
    monthly reports to the Special Master, (d) the reports provided at semi-annual meetings with the.
    Special Master and Plaintiffs (known as All Parties and/or Policy Meetings). Any additional
    responsive and non-privileged information will be provided.
    REQUEST NO..37:
               ALL DOCUMENTS and COMMUNICATIONS that REFER                               RELATE to the
                                                                                    or
    number      or   percentage of CDCR prisoners enrolled in or on waitlists for educational
                                                                                                        programs,
    vocational programs, and inmate work        assignments during the RELEVANT TIME PERIOD.
    RESPONSE TO REQUEST NO. 37:
              DEFENDANT objects that this request seeks information protected from disclosure by the
   attorney-client privilege, attorney work product privilege, deliberative process privilege, self-critical
   analysis privilege, and official information privilege. Further, this information is equally available
   to Plaintiffs. The request is duplicative of   discovery in Hecker   v.   Schwarzenegger as well as request
   number 16 in this set of requests.        To the extent this request is not limited to the educational
   programs, vocational programs and inmate work assignments of Coleman caseload members; the
   request .exceeds PlaintifFs standing as a representative of a certified class of Coleman caseload
  members, violates the non-caseload members' right to privacy, and is not likely to lead to admissible
  evidence. The request exceeds the jurisdiction of this             Further, the              is overly
                                                              case.                           request
  burdensome.          Without waiving said objections, Defendants state responsive and non-privileged
  materials     concerning Coleman      class members and their enrollment in or watilist status for
  eduCational programs, vocational programs, and inmate work assignments during the RELEVANT
  TIME PERIOD.
  ///
  ///


    DEFENDANTS' RESPONSE TO PLAINTIFF'S FIRST REQUEST FOR PRODUCTION
                                                                     OF DOCUMENTS
                                                      27
 Case 2:90-cv-00520-KJM-SCR                            Document 2914-3          Filed 08/01/08         Page 29 of 90
                        REQUEST NO. 38:
          2                   ALL DOCUMENTS and COMMUNICATIONS that REFER                        or   RELATE to standards,i.
          3            guidelines, protocols, or procedures for the provision ot•mental health care during the RELEVANT
                       TIME PERIOD to COLEMAN CLASS MEMBERS by community based housing programs,
          5            including but not limited to Community Correetional Facilities.
          6         RESPONSE TO REQUEST NO. 38:
          7                   DEFENDANTS      object that this request seeks information protected from disclosure by the
          8        attorney-client privilege, attorney work product privilege, deliberative process privilege, self-critical
      9            analysis privilege, and official information privilege. DEFENDANTS further object that the term
     10            community correctional facilities is vague and so interpret that term to not include Family
     11            Foundation facilities.
     12
 13                //
 14                H
 15             //
 16            N
 17            //
 18            //
 19            H
2O             //
21             //
22            //
23            N
24            //
25            //
26            //
27            //
28
                       DEFENDANTS' RESPONSE TO PLAINTIFF'S FIRST REQUEST FOR PRODUCTION OF DOCUMENTS

                                                                    28
     Case 2:90-cv-00520-KJM-SCR                         Document 2914-3        Filed 08/01/08      Page 30 of 90

                             Subject to and without waiving the foregoing objections, DEFENDANTS respond as follows:
              2    By policy and procedure; Coleman class members are excluded from Community Correctional
              3    Facilities and so this. inquiry is inapposite. DEFENDANTS will produce
                                                                                               any protocols concerning
          4        the exclusionary criteria and concerning the response to any
                                                                                   emergency mental health care needs of
          5        those inmates housed in Community Correctional Facilities.
          6
                                    Dated: November 9, 2007
          7
                                                                      Respectfully submitted,
          8
                                                                      EDMUND G. BROWN JR.
          9                                                           Attorney General of the State of California
     10                                                               DAVID S. CHANEY
                                                                      Chief Assistant Attorney General
     11                                                               FRANCES T. GRUNDER
                                                                      Senior Assistant Attorney General
     12
                                                                      ROCHELLE C. EAST
     13                                                               Supervising Deputy Attorney General
     i4
     15
     16                                                            D,eputy Attorney General
 17                                                                Attorneys for Defendants
                  SF2007200670
 18               responseALLDEFColernanRFP 1.11.8wpd.wpd
 19
 20
21
22
23
24
25
26
27
28
                  DEFENDANTS' RESPONSE TO PLAINTIFF'S FIRST REQUEST FOR PRODUCTION OF DOCUMENTS

                                                                 29
     Case 2:90-cv-00520-KJM-SCR                             Document 2914-3         Filed 08/01/08    Page 31 of 90
                     EDMUND G. BROWN JR.                                             HANSON BRIDGETT MARCUS
                    Attorney General of the State of California                      VLAHOS & RUDY, LLP
              2     DAVID S. CHANEY                                                 JERROLD C. SCHAEFER 39374
                    Chief Assistant Attorn'ey General                               PAUL B. MELLO        179775
          3         FRANCES T. GRUNDER                                              425 Market Street, 26 th Floor
                    Senior Assistant Attorney General                               San Francisco, CA 94105
          4         ROCHELLE C. EAST                                                Telephone: (415) 777-3200
                    Supervising Deputy Attorney General                             Facsimile: (415) 541- 9366
          5         LISA A. TILLMAN, State Bar No. 126424                           j schaefer@hans0nbridgett.com
                    Deputy Attorney General                                         pmello@hansonbridgett.com
          6            1300 1 Street, Suite 125
                      P.O. Box 944255
          7           Sacramento, CA 94244-2550
                      Telephone: (916) 327-7872
          8           Fax: (916) 324-5205
                      Email: Lisa.Tillman@doj.ca;gov
          9
     10             Attorneys for Defendants
     11                                           IN THE UNITED STATES DISTRICT COURT
     12                                       FOR THE EASTERN DISTRICT OF CALIFORNIA
     13                                     AND     THE NORTHERN DISTRICT OF CALIFORNIA
     14                         UNITED. STATES DISTRICT COURT COMPOSED                    OFTHREE JUDGES
     15                            PURSUANT TO SECTION 2284, TITLE 28 UNITED STATES CODE
 16
 17                  RALPH      COLEMAN, et al.,                                       2:90-cv-00520 LKK JFM P
 18                                                                   Plaintiffs,      THREE JUDGE COURT
 19
 20                 ARNOLD        SCHWARZENEGGER, et al.,
21                                                                  Defendants.
22
                    MARCIANO PLATA, et al.,                                           No. C 01-1351 TEH
23
                                                                     Plaintiffs,      THREE JUDGE COURT
24
                                                                                      DEFENDANTS' RESPONSE
25                  ARNOLD        SCHWARZENEGGER, et al.,                             TO RALPH COLEMAN'S
                                                                                      INTERROGATORIES AND
26                                                                 Defendants.        RWQUEST FOR
                                                                                      PRODUCTION,
27                                                                                    DECLARATION.OF ROBERT
                                                                                      GOREREGARDiNG
28                                                                                    PRIVILEGED DOCUMENTS

                  Decl. of Robert Gore Re: Privileged Documents
     Case 2:90-cv-00520-KJM-SCR                             Document 2914-3         Filed 08/01/08      Page 32 of 90
                                I; R.obert Gore, declare:
              2                 1. I am the Acting Chief Deputy    Cabinet Secretary for the California Governor's Office.
              3     Prior to serving in this role, I was the Deputy Cabinet Secretary. In these roles, I
                                                                                                         am actively

          4         involved with, and review, budgets and corrections issues for the Office of the Governor.
          5                     21 I have personal knowledge of the facts stated in this declaration and if called to testify
          6         upon those facts would do so competently.
          7                     3. I have reviewed Plaintiff Ralph Coleman's Request for Production of Documents, Set
          8         One, propounded upon Governor Schwarzenegger and other named defendants as well as
          9         Plaintiff Ralph C oleman's First Set of Interrogatories to Governor S chwarzenegger, in the               of
                                                                                                                       case
     10             Coleman v. Schwarzenegger, CIV $90-0520 LKK JFM P.
     11                     4. In my capacity as Acting Chief Deputy Cabinet Secretary for the California
     12             Governor's Office, I am familiar with the Governor's Office's analysis, policies, practices, and
     13            procedures concerning its involvement with the California Legislature, State budget process, AB
     14             900,,population reduction strategies, out-of-state transfers, prison site selection, prison capacity
 15                and bed planning as well as rules, regulations, policies and procedures regarding re-entry
 16                facilities, and the prison.parole system. In addition, I am familiar with, and an Instrumental
 17                participanl( in, development of such policies and procedures. I am also familiar with the process
 18                associated with the development of legislation, the budget and the developmeiat of draft budget
 19                change proposals by State agencies throug h an internal review process, which are ultimately
20                 submitted to the Office of the Governor for final approval. I am also familiar witl• the October
21                2006 Emergency Proclamation and the process of its development and             p•eparation.
22                         5. Policy, plans and procedures for the budget, AB 900, out-of-state transfers, prison site
23                selection, prison capacity and bed planning documents are drafted, revised, discussed, debated
24                and redrafted before finalization. The final documents have been produced in these
                                                                                                     cases and

25                will be provided in     response to Plaintiff Coleman's Request for Production of Documents. The
26                Governor's Office maintains as privileged those documents reflecting internal analysis,
27                deliberation and discussion prior to adoption of the Governor's budget proposal, AB 900,
28                population reduction strategies, out-of-state transfers, prison site selection, prison capacity and

                  Deck of Robert Gore Re: Privileged Documents
                                                                        2
     Case 2:90-cv-00520-KJM-SCR                         Document 2914-3         Filed 08/01/08     Page 33 of 90
                bed planning as well as rules, regulations, Policies and procedures regarding re-entry facilities,
          2     and the prison, parole system.
          3                    6. From October 2006 to the present, the Governor's Office hasexplored
                                                                                                      numerous
          4     strategies for addressing population in CDCR. These include but are not limited to out-of-state
          5     transfers, parole reform, and prison construction. These also include the Emergency
          6     Proclamation of October 2006. Documents reflecting analysis of these issues prior to adoption of
          7     a final    strategy are pro-decisional, deliberative and therefore privileged.
          8                    7. Those privileged and n0n-privileged documents in the possession of the Office of the
      9         Governor that are responsive to Plaintiffs' Request for Production ofDocumentsiwill be
     10        provided to Defendants' counsel. Those documents include briefing documents, Critiques, self-
     11        evaluations, agendas, draft plans, budget change proposals, associated e-mails, legal analyses,
     12        official information which is not made available to the. public, communications within the Office
 13            of the Governor and with other Defendants' executive levels, and communications with attorneys
 14 regarding pending and anticipated litigation.
 15         8. Many documents provided to counsel for Defendants are pre-decisional and bear on
 16            the formulation or exercise of the GovernOr's Office's policy-oriented judgment. These
 17            materials were part of the deliberative.policy-making process.which led to a final-decision,
                                                                                                                   or are

 18 leading to a future final decision, regarding budgetary policies which are the basis for all
 19            governmental activities, procedures, regulations_., and amendments.        Such documents include
20             draft legislation; draft proclamations; draft executive orders; analysis of propos/•l.s; draft planning
21            documents; attorney work-product; communications within the Office of the Governor, other
22            Defendants' executive levels, and attorneys; and other documents which reflect the opinions and
23            suggestions of individuals rather than the policy of a particular agency.
24                         Many potentially responsive documents reflect complex calculations, judgments,
                          9.
25            p•'ojections, the application of existing laws and regulations, and the assessment of possible
26            solutions and recommendations. As such, these documents are pre-decisional, deliberative, and
27            should, be shielded from discovery because disclosure of the documents may chill future
28            discourse, self-evaluation and critical analysis. Furthermore, if individuals fear that deliberative

              Deck of Robert Gore Re: Privileged Documents
     Case 2:90-cv-00520-KJM-SCR                     Document 2914-3        Filed 08/01/08          Page 34 of 90



             materials will be made publM it may deter discussion and development of theories
                                                                                              and ideas of
         2   benefit to the public.
         3              declare under penalty of perjury the foregoing is true and
                                                                                     correct.
                      Executed on November 9, 2007, in Sacramento,£talKomia           •,

                                                                     aR•ER   V'O.f•E
                                                                     A•ting Chief
                                                                                                     •-
                                                                                     Deputy Cabinet Secretary
                                                                     California Office of the Oovernor




{{
         Decl. of Robert Gore Re: Privileged Documen!,s
 Case 2:90-cv-00520-KJM-SCR                                Document 2914-3               Filed 08/01/08   Page 35 of 90
             EDMUND G. BROWN JR.
              1                                                                           HANSON BRIDGETT MARCUS
             Attorney General of the State of California                                  VLAHOS & RUDY, LLP
           2 DAVID S. CHANEY                                                              JERROLD C. SCHAEFER 39374
             Chief Assistant Attorney General                                             PAUL B. MELLO         179775
          3 FRANCES T, GRUNDER                                                            425 Market Street, 26th Floor
             Senior Assistant Attorney General                                            San Francisco, CA 94105
          4 ROCHELLE C. EAST                                                              Telephone: (415) 777-3200
             Supervising Deputy Attorney General                                          Facsimile: (415) 541- 9366
          5 LISA A. TILLMAN, State Bar No. 126424                                        j schaefer@hansonbridgett.com
                    Deputy Attorney General                                               pmello@hansonbridgett.com
          6            1300 1 Street, Suite 125
                      P.O. Box 944255
          7           Sacramento, CA 94244-2550
                      Telephone: (916) 327-7872
          8           Fax: (916) 324-5205
                      Email: Lisa.Tillman@doj.ca.gov
          9
     10             Attorneys for Defendants
     11                                          IN THE UNITED STATES DISTRICT COURT
     12                                       FOR THE EASTERN DISTRICT OF CALIFORNIA
     13                                     AND THE NORTHERN DISTRICT OF CALIFORNIA
 1.4                            UNITED STATES DISTRICT COURT COMPOSED OF THREE JUDGES
 15                               PURSUANT TO SECTION 2284, TITLE 28 UNITED STATES CODE
 16
 17                 RALPH       COLEMAN, et al.,                                            2:90-cv-00520 LKK JFM P
 18                                                                       Plaintiffs,.      THREE JUDGE COURT
 19
20                  ARNOLD        SCHWARZENEGGER,. et al.,
21                                                                     Defendants.
22
                    MARCIANO          PLATA, et al.,                                        No. C 01,1351 TEH
23
                                                                         Plaintiffs,        THREE JUDGE COURT
24
                                                                                            DEFENDANTS' RESPONSE
25                                                                                          TO RALPH COLEMAN'S
                   ARNOLD        SCHWARZENEGGER, et al.,                                    REQUEST FOR
26                                                                                          PRODUCTION,
                                                                       Defendants.          DECLARATION OF
27                                                                                         VINCENT P. BROWN
                                                                                           REGARDING PRIVILEGED
28                                                                                         DOCUMENTS

                  Decl. of Vincent P. Brown Re: Privileged Documents
      Case 2:90-cv-00520-KJM-SCR                              Document 2914-3         Filed 08/01/08          Page 36 of 90
                   1                I, Vincent P. Brown, declare:
               2                     1. I am the Chief Deputy Director of the California Department of
                                                                                                       Finance.
               3            In this role, my responsibilities include reviewing the Governor's   Budget before it s presentation
               4            to the Eegislature.

            5                       2. As delegated to meby the Director of Finance, I
                                                                                       act for the Director     as a member      of
           6            the Public Works Board and the Pooled Money Inyestment Board.
                                                                                                  The Department of Finance
           7            also provides staff for both Boards   However, such entities are not parties to this litigation and,
           8            thereforel this declaration addresses only privileges pertinent to role Chief
                                                                                          my       as        Deputy Director
           9            of the California Department of Finance.
      10                           3. I have personal knowledge of the facts stated in this declaration
                                                                                                           and if called to   testify
      11                upon those facts would do so competently.
      12                           4. I have reviewed PlaintiffRalph Coleman's    Request for Production •,• r•                  o_,

      13               One, propounded upon Defendant Michael Genest and other named Defendants in the
                                                                                                                       case
     14                entitled Coleman.v. Schwarzenegger, CIV S90-0520 LKK JFM P. I                   the
                                                                                     am .familiar with
     15                documents generated by the Department Of Finance which-may be
                                                                                            responsive to Plaintiffs'
     16                requests. Certain items within those categories of documentsare privileged.
     17                         5. In my capacity as Chief Deputy Dii'ector of the California Department of
                                                                                                              Finance, I
     18                      famiIiar with the Department of Finance's analysis, policies,
                       am                                              practices, and procedures
  19 concerning its involvement with the State budget
                                                      process. In addition, I am familiar with,.and an
 20 Instrumental participant in, development of such analysis, policies,
                                                                          practices and procedures. I
 21                          also familiar with the process associated with the development of the
                   am
                                                                                                      budget and the
 22                development of draft budget change proposals by State agencies through                  internal review
                                                                                                      an
23                 process, the review and analysis of those documents         by the Department of Finance, and
24              subsequent revisions for ultimate submission to the Office of the Govern•r for final
                                                                                                       approval.
25                     6. Policy, planning and procedural budget documents
                                                                              are drafted, revised, discussed,
26             debated and redrafted before finalization.           Final budget documents have been produced in these
27             cases          and will be provided in response to the Request for Production of Documents.
                                                                                                                   In addition,
28             final budget documents are published on Defendants' Website and                        equally available to
                                                                                             so are


           Decl. of Vincent P. Brown Re: Privileged Documents
                                                                          2
Case 2:90-cv-00520-KJM-SCR                  Document 2914-3       Filed 08/01/08        Page 37 of 90
        Plaintiffs. The   Department of Finance maintains as privileged those documents reflecting
        internal analysis, deliberation and discussion prior to adoption of the Governor's
                                                                                          budget
        proposal, including: draft budget change proposals, forms containing internal analysis and
                                                                                        notes, position
        summation of submitted draft budget change proposals, co.nference committee

        papers, internal communications and draft cost summaries.
                  7. The Department of Finance takes an advisory role relative to the budget in
                                                                                                      advance of
        the appropriation of funds by the Legislature which supports the activities of,
                                                                                           and the adoption
     of, policies, procedures and practices for State agencies. The Department of Finance's activities
     are performed on a continuing basis. Modifications to Department of Finance policies,
                                                                                            practices
     and procedures are developed .through self-evaluations conducted internally.
                                                                                          Information
    gathered and derived for purposes of this process is considered confidential and is maintained
                                                                                                               in
         confidential manner. Finally, many of the Department ofFinance's ,,,•wlo•,•o
    a
                                                                               v
                                                                                          a•l,•   procedm-es are
    derived from budgetary and fiscal information for which the Governor has final
                                                                                        approval.
             8. Those privileged and non-privileged documents in the possession of the
                                                                                           Department
    Finance that are responsive t O Plaintiff Ralph Coleman's Request for Production
                                                                                         of Documents,
   will be. provided to Defendants' counsel. Those documents include briefing
                                                                                    documents, agendas,
    draft plans, draft budget change .proposals, forms reflecting analysis of budget change
                                                                                              proposals;
   associated e-mails, official information which is not made available to the public,
   communications with the Office of the Governor and with other Defendants' executive levels,
   and communications with attorneys regarding pending and anticipated litigation.
             9.    Many documents provided to counsel for Defendants are pre-decisional and .bear
                                                                                                          on
   the formulation or exercise of the .Department of Finance's fiscal policy-oriented
                                                                                             judgment.
   These materials were part of the deliberative policy-making process which led
                                                                                          to a final decision,
  or are leading to a future final decision, regarding budgetary policies which are the basis for all
  governmental activities, procedures, regulations, and amendments. Such documents include
  draft budget change proposals; analYSiS of such proposals; draft planning documents;
                                                                                           attorney
  //!
  ///

  Decl. of Vincent P. Brown Re: Privileged Documents
 Case 2:90-cv-00520-KJM-SCR                            Document 2914-3     Filed 08/01/08        Page 38 of 90

             work-product; communications with the Office of the Governor, other Defendants' executive
             levels, and the Department of Finance's attorneys; and other documents which reflect the
           3 professional opinions and suggestions of individuals rather than the policy of
                                                                                               a particular agency.
           4         10. Many potentially responsive documents reflect complex calculations, judgmentsl
          5 projections, the application of existing laws and regulations, and the
                                                                                      assessment of possible
          6 solutions and recommendations. As such, these documents
                                                                            are pre-decisional, deliberative, and

         7 should be shielded from discovery because disclosure &the documents          may)chill   future
         8 discourse, Self-evaluation and critical analysis. Furthermore, if individuals fear
                                                                                                  that deliberative
         9 materials will be made public, it may deter discussion and development of theories
                                                                                                      and ideas of
      10 benefit to the public.
      ll              declare under penalty of perjury the foregoing is true and correct.
      12              Executed on
                                       "• •..,• O/ 2007,in Sacramento, Califo_m__ia,
      13
     14                                                            VINCENT P. BROWN
                                                                   Chief Deputy Director
     15                                                            California Department of Financ.e
     16
            SF2007200670
     17

     18
 19
 20
 21
22
23
24
25
26
27
28

           Decl. of Vincent P. Brown Re: Privileged Documents
•'ilJ097•007   iO;•   F•X   91•3248208'

        Case 2:90-cv-00520-KJM-SCR             Document 2914-3            Filed 08/01/08     Page 39 of 90

                                                                           HANSON BRIDGETT MARCUS
                                                                           VLAHOS & KUDY, LLP
                                                                           JERKOLD C. SCHAEFER- 39374
                                                                           PAUL B, MBLLO 179775
                                                                           425 Market StreW, 26 'h Floor
                                                                           San Franci•eo• CA 94105
                                                                           Telephone: (415) 777-3200
                                                                           Facsimile: (41S) 541-9366
                                                                           •t•hae•Jaea•o•b9 d•e. tt corn




                                          IN THE UNITED STATES DISTRICT COURT
                                      FOR TI-IE EASTERN DISTRICT OF CALIFORNIA
                                     AND THE NORTHERN DISTRICT OF CALIFORND%
                            UNITED STATES DISTRICT COUKT COMFOSED OF THREE JUDOES
                             PURSUANT TO SECTION 2284, TITLE 2• UNITED STATES CODE


                                                                             2;90-cv-00520 LKK JFM P
                                                                             THREE 3UDGE COURT


                ARNOLD       SCHWARZEN•GGER, et.aI.


                                                                             No, C 01-1351 TEH
                                                            Plaintiffs,      THREE JUDGE COURT

               ARNOLD       SCHWARZENEGGER, et ah,                          DECLARAIS[ON OF DOUG.
                                                                            MCK•EV•R REGARDING
                                                                            P•EGED DO•NTS


                        t am employed by the D•vi•ion of Corre:tional Health Care Services for
                                                                         • UU•/UU•

Case 2:90-cv-00520-KJM-SCR   Document 2914-3   Filed 08/01/08   Page 40 of 90



               2
            3
            4




           7




      10
      11.
      12


     14
     15
     16
     17


 I9
 2O
 21
 22
 23
24
25




28



                                      2
Case 2:90-cv-00520-KJM-SCR   Document 2914-3   Filed 08/01/08   Page 41 of 90
                                                                         •UUb/UU•


Case 2:90-cv-00520-KJM-SCR   Document 2914-3   Filed 08/01/08   Page 42 of 90



    2


   4




                                      4
Case 2:90-cv-00520-KJM-SCR                                Document 2914-3                    Filed 08/01/08      Page 43 of 90



                    EDMUND G, BROWN JR.
                    Attorney General of the State of California
                    DAVID S. CHANEY
                    Chief Assistant Attorney General
             3      FRANCES T, GRUNDER
                    Senior Assistant Attorney General
            4       ROCHELLE C. EAST
                   Supervising Deputy AttomeyGeneral
            5 .LISA A. TILLMAN, State Bar No. 126424
                   Deputy Attorney General
            6        1300 Street, Suite 125
                     P.O. BOX 944255
            7        Sacramento; CA 94244-2550
                     Telephone: (916) 327-7872
            8        Fax: (916) 324-5205
                     Email: Lisa.Til!man@doj,ca.gov
            9

       10          Attorneys for Defendants
       I1                                       IN THE UNITED STATES DISTRICT COURT
       !2                                    •c•   THE              •RN uIS   RIL            CALIFOrNiA
                                                          •o                            •r

       13                                  AND THE NORTHERN DISTRICT OF CALIFORNIA
      14                       •iTED STATES DISTRICT COURT COMPOSED OF THeE JUDGES
      15                         PURSUANT TO SECTION 2284, TITLE 28 •ITED STATES CODE
   t6
   17               RALPH      COLEMAN, et al.,                                               2:90-cv-00520 LKK JFM P
   18                                                                      Plaintiffs        THREE JUDGE COURT
   I9
  20               ARNOLD        SCHWARZENE(,GER, el al.,
  21                                                                    Dct•ndants.
  22
                  MARCIANO PLATA, el al.,                                                    No, C 01:1351 THE
  23
                                                                          Plaintiffs.        THREE JUDGECOURT
  24
                                                                                             DEFENDANTS' RESPONSE
  25                                                                                         TO RALPH COLEMAN'S
  26              ARNOLD        SCHWARZENEGGER, ei al.,                                      INTERROGATORIES AND
                                                                                             REQUST FOR
  27
                                                                                             PRODUCTION,
                                                                        Del•ndants.          DECLARATION OF
                                                                                             CYNTHIA A. RADAVSKY
 28                                                                                          REGARDING PRIV1LEG ED
                                                                                             DOCUMENTS
                 Decl. of Cindy Radavsky Re: Privileged Documents
Case 2:90-cv-00520-KJM-SCR                                    Document 2914-3                 Filed 08/01/08          Page 44 of 90




                                I, Cynthia A. Radavsky, declare:
                2               1.    employed in the position of Deputy Director of Long-Term Care Services with
                                      am

                3      the Department of Mental Health (DMH) of the Health and Human Services Agency. have
                       been employed by the Department &Mental Health since October 1995 and have held the
            5          following pos!tions: Program Director at Napa State Hospital from 1995 to 1998, Assistant
            6         Deputy Director of Long Term Care Services from 1998 to 2006, and. Deputy Director of Long
            7         Term Care .Services from 2006 to present.
           8                   2.    have personal knowledge of the facts stated in this declaration and if called to testify
            9         upon those facts would do so competently.
       10                      3. In my     position with DMH,          am   familiar with the missions, policies, staffing, and
                      operations of each of the state hospitals. am responsible for overseeing the inpatient care
       12             provided to CDCR inmate-patients at Atascadero State Hospital, Coalinga State Hospital and
       13             Patton State Hospital.       am   also familiar with the-missions, policies, staffing and operations of
   14                 DMH programs within California Department of Correction and Rehabilitation (CDCR)
      15              facilities, such as Vacaville Psychiatric Program at California Medical Facility and Salinas
      16             Valley Psychiatric Program at Salinas Valley State Prison,
      17                       4.    am    responsible for ensuring DMH provides appropriate responses.to and complies
      18             with those Coleman court orders applicable to DMH.                  worked with a multi-agency task force in
   19 preparing and developing Defendants' August 2007 mental health bed plan.                                   also participated in
  20                 the development of Defendants' Interim Mental Health Bed                 Plan, Defendants Long-Range
  2                  Mental Health Bed Plan of October 2006, and Amended       Long-Range Mental Health Plan of
  22                 December 2006. am participated in the development of the
                                                                                   pay parity plans approved by this
  23                Court for DMH clinicians. also participated in developing the DMH
                                                                                             response to court orders
  24                for a staffrecruitment plan, an activation plan for Atascadero State Hospital, feasibility plan
                                                                                                    a
  25                for Coalinga State Hospital. Each of these referenced documents have been filed with the
  26                Coleman court and provided to counsel.               oversee the preparation and implementation 0f th£
  27 operating interagencyagreements and memoranda of understanding between DMH and CDCR
 28                 to provide acute, and intermediate care inpatient beds to CDCR inmates. lhose interagency

                    Decl. of Cindy. Radavsky Re: Privileged Documents
Case 2:90-cv-00520-KJM-SCR                                        Document 2914-3            Filed 08/01/08         Page 45 of 90




                       documents and memoranda of understanding have been submitted to Special Master Keating and
                2      Plaintiffs' counsel for review.
                3                  5.        am
                                                  alsoresponsible for DMH's responses to other litigati0n.matters, ranging from
            4          habeas petitions filed by patients to the action brought by the United States Department of
                      Justice against DMH under theCivil Rights of Institutionalized Persons Act (known as the
            6         CRIPA        case).               6.   have reviewed Plaintiff Ralph Coleman's Request for Production of
            7         Documents, Set One, propounded upon Defendant Stephen Mayberg and other named
            8         Defendants in the case entitled Coleman v. Schwarzenegger, Case No. C1V $90-0520 LKK JFM
            9         P, and Plata v. Schwarzenegger, Case No. CO 1-1351 THE, Understand Plaintiffs sought to
       10             obtain documents from Mr. Mayberg, in his capacity as the Director of the Department of Mental
       11             Health, by defining the terms "CDCR prison" and "prison" to include any and settings in which
       12             the Department of Mental Health houses CDCR inmates. Defendants' Counsel has objected, to
       13            that definition as inappropriate under the jurisdictional parameters of the certified class within
       14            the    Coleman Case. Further, the proposed definition is inappropriate because 0nly CDCR,
                                                                                                                             not
      DMH, has statutory responsibility for the custody and control of CDCR prisoners under
       15
   16 California P•/nal Code section 50•4. To the                           extent,
                                                         however, any of the d6cuments sought in this
   17                Request for Production were prepared in whole Or part by DMH personnel in conjunction with or
   18                shared with other Defendants'             personnel, this declaration elucidates the privileges applicable to
   19                some    of those responsive documents.
   20                           7. In mycapacity as Deputy Director of Long-Term Care Services for DMH, am
  21                 familiar with this agency's analysis, regulations, policies, practices, and procedures concerning
  22                 its involvement with            prisons of the California Department of Corrections and Rehabilitation. In
  23                addition,           am   familiar with, and an instrumental participant in, development of such analysis,
  24                policies and procedures. am also familiar with the process associated with the derivation of
                    the budget and the development of draft budget change proposals for internal review and
  26                revision and for ultimate submission to the Office of the Governor for final approval.
  27                          8.    Policy, planning and procedural documents are drafted, revised, discussed, debated
  28                and redrafted before finalization.            Although the final product will be produced, DMH maintains
                    Decl of Cindy Radavsky Re: Privileged Documents
Case 2:90-cv-00520-KJM-SCR                          Document 2914-3       Filed 08/01/08        Page 46 of 90




               privileged those drafts or other documents reflecting internal analysis, deliberation and
              as

          2 discussion prior to adoption ofihe fina• product. Such documents include patient planning

         3 committee notes, draft budget change pro. posals, legal opinions prepared by in-house counsel for

         4 DMH staff, legal memoranda prepared relative to ongoing litigation (such as this case and the
         5 CRIPA case), position papers and draft cost summaries.
        6           9. When requested, DMH takes an advisory role relative to treatment of CDCR inmate-
        7 patients in advance of adoption of plans, policies and procedures, These functions are performed
        8 on a continuing basis. In addition, modifications to policies and procedures may be developed
        9 through self-evaluations conducted internally. Information gathered and derived for purposes of
      10 policy planning and analysis is considered confidential and is mai.ntained in a confidential

      11 manner. Finally, many of DMH's policies and procedures are derived based upon budgetary and

      12 fisca! information for which the Governor has final approval.

      13              1'0.   have caused documents in the possession of DMH to be provided to counsel for the
      14    Defendants in response to Plaintiffs' Request for Production of Documents, Set One. These
      15    documents include dral• unadopted planning documents, budget change proposal packages,
      16    a•sociated e-mails, documents developed to activate internal debate and analysis, official
      17    information which is not made available to the public, and communications with DMH's staff
      18    attorneys and the Attorney General's Office regarding pending and anticipated litigation.
   19                  Many documents provided to counsel for Defendants are pre-decisional and bear on
                       1.
  20       the formulation or exercise of DMH's judgment. These material• were part of the deliberative
  2        policy-making process which led to a final decision, or are leading to a future final decision,
  22       regarding DMH's budget, policies, procedures and treatment of CDCR inmate-patients. -Such
  23       documents include recommendations, draft documents, proposals, legal comments, and other
  24       documents which reflect the persona[ opinion 0fthe individual writers rather than the policyof
  25       DMH.
  26                12.Many potentially responsive documents were derived from a complex set of
  27       treatment considerations judgments; projections, other rules an, d regulations, and the assessment
 28        of possible solutions and recommendations. As such, these documents
                                                                               are pre-decisional,


           Decl, of Cindy Radavsky Re: Privileged Documents
                                                              4
Case 2:90-cv-00520-KJM-SCR                               Document 2914-3     Filed 08/01/08           Page 47 of 90



                  deliberative, and should be shielded from discovery because disclosure of the documents may
       2          chill furore beneficial discourse, self-evaluation and debate. Furthermore, if individuals
            3     working with or for DMH fear that deliberative materials will be m/•de public, the release may
            4
            5
                  deter discussion and development of theories and ideas of benefit to the public.
                            declare under.p•alty •f perju•,the foregoing is)l. • and correct.
                                                                                             •
                                                                                                               )
            6
                                                                                7    '           ./     /1,•
            7
            8                                                      • •gty Director, Long-Ter• Care Servic•
                                                                    •r, tment of Mental Ile•lO•
        9
                 r•d•v•lib•c wpd
       10        SF2•7200670

       11
   !2

   13
   14.
   15
   16
   17
   18
   19
  20
  21
  22
  23
  24
  25
  26
 27
  28

                9ecl. of Cindy Radavsky Re: Privileged Documents
Case 2:90-cv-00520-KJM-SCR                     Document 2914-3           Filed 08/01/08       Page 48 of 90




         EDMUND G. BROWN JR.
        Attorney General of. the_State of California
        DAVID S. CHANEY
        Chief Assistant Attorney General
        FRANCES T. GRLrNDER
        Senior Assistant Attorney General
        ROCHELLE C. EAST
        Supervising Deputy Attorney General
        LISA A. TILLMAN, State Bar No. 126424
        Deputy Attorney General
         1300 Street, Suite 125
         P.O. Box 944255
         Sacramento, CA 94244-2550
         Telephone: (916) 327-7872
         Fax: (916) 324-5205
         Email: Lisa.Tillman@doj.ca.gov

        Attorneys for Defendants
                                      IN THE UNITED STATES DISTRICT COURT
                                  FOR THE EASTERN DISTRICT OF CALIFORNIA
                                AND THE NORTHERN DISTRICT OF CALIFORNIA
                    UNITED STATES DISTRICT  COURT COMPOSED OF THREE JUDGES
                       PURSUANT TO SECTION 2284. TITLE 28 UNITED STATES CODE


        RALPH COLEMAN, et al.,                                            2:90-cv-00520 LKK JF'M P
                                                           Plaintift•,    THREE JUDGE COURT


        ARNOLD        SCHWARZENEGGER, et al.,
                                                       Defendants.

       IVIARCIANO PLATA, et al.,                                         No. C 01-1351. TEH
                                                          iPlaintiffs,   THREE JUDGE COURT
                                                                         DEFENDANTS' RESPONSE
                     SCHWARZENEGGER, et al.,                             TO RALPH COL.E•LCN'S
       ARNOLD                                                            INTERROGATORIE ,S AND
                                                                         REQUST FOR
                                                       De fend,'ints.    PRODUCTION,
                                                                         DECLARATION OF SCOTT
                                                                         KERNAN REGARDING
                                                                         PRIVILEGED DOCUMENTS

     Decl. of Scott Kernan re Privileged Documents
Case 2:90-cv-00520-KJM-SCR                                    Document 2914-3             Filed 08/01/08               Page 49 of 90



                                     I, Scott Kernan, declare:
                                     1.    am   the Chief Deputy Secreta•, of Adult Operations for the Calitbrnia Department of
                         Corrections and Rehabilitation (CDCR).            have been employed by CDCR since 1983.
                  4              2.        declare the following of my own know.ledge and, if called              witness, would
                                                                                                          as a
              5          competently testify to the tbltowing.
              6                  3. In my capacity as Chief Deputy Sec?etary of Adult Operations, I
                                                                                                    am responsible for
              7         overseeing the management and operation of the adult correctional facilities within CDCR.
                                                                                                                                         am
              8         f:amiliarwith CDC.R's regulations, policies, practices, and procedures concerning
                                                                                                                         out-of-sta•e
              9         transt•rs, prison site selection, prison capacity and bed planning as well as rules, regulations,
         10             policies and procedures regarding re-entry facilities and th.e prison parole system. In addition,
         II             am familiar with, and an instrumental participant in, development of
                                                                                                       such policies and
         12

         13                     4.        have reviewed Plaintiff Ralph Coleman's Request/br Production of Documents:
                                                                                                                                        Set
        14             One, issued upon Defendant James Tilton and other named Defendants.                   have also reviewed
        15             well as PlaintiffRalph Coleman's First.Set of Interrogatories issued
                                                                                            upon Defendant .lames
        16             Tilton in the case entitled Colemar• •,. Sch•arzenegger, CIV $90-0520 I.KK
                                                                                                    JFM P. am
        17             tiamiliar with the documents generated by this agency which
                                                                                    may be responsive to Plaintil:I"s
        18             requests. Certain items within those categories of documents are privileged.
       19                      5. To the extent Plaintiffs discovery seeks documents which refer
                                                                                                 or relate to timetables
    20                 for out-of-state transfers, those     documents are privileged.     am   familiar with those documents
    21                which wereprepared           by a multidisciplinary team of attorneys: clinicians and correctional
   22                 administrators within CDCR. Defendants have already produced
                                                                                                 to PlaintiffE    the activation
   23                 schedules for out-of-state transfers indicating dates and numbers of inmates
                                                                                                                 to be transferred.
   24                 Additional infom•ation is available on CDCR's website.             However, the disclosure of specific
   25                 information regarding from where, when and by what            means i•dividual inmates will be
   26                 transferred out-of-state raises grave security concerns for CDCR. As inmates
                                                                                                   are at times
   27             transported on public roadways, the release of detailed information regarding these
                                                                                                                        transports
  28              may place the inmates, CDCR escort staffand the public at risk. Publication of security

                  I)ecl. of'Scott Kcrnan re Privileged Documen
                                                                 s
Case 2:90-cv-00520-KJM-SCR                                Document 2914-3          Filed 08/01/08         Page 50 of 90




               sensitive materials will threaten the defendant's strong interest in preventing disclosure of
         2     information regarding Security procedures. For these reasons, some documents reflecting out:of-
         3     state transfer information          will not be disclosed. Defendants will provide descriptions of these
         privileged documents on Defendants' privilege log.
         4
       5          6. Documents •reflecting transportation, housing of particular inmates, architectural
       6 specifications, renderings, blueprints, infrastructure layout, building •footprints, points of access
       7 and construction design details also implicate securib, concerns, Disclosure of such in.forination

       8 would compromise prison security,, and could endanger staff, inmates and the public. For these

         reasons, these documents will not be disclosed. Defendants will provide descriptions of these
    i0 privileged d .ocuments on Defendants' privilege log.
    ll           7. CDCR's policy, planning and procedural documents are dralted, revised, discussed,
    12 debated and redrafted before finalization Finalized documents may address AB 900, sites, out-

   .13        of-state transfers, beds, re-entry, parole and/or intake policies.       Although the. final product will
    14        be produced, many final documents have already been provided to Court and counsel in these
    15        cases   and are equally available to Plaintiffs0n C[)CR'-s online website. However, CDCR
    16        maintains as privileged drains or other docu•nents reflecting internal analysis, deliberation and
    17        discussion prior to adoption of the final product.
                           CDCR       s   pohcms and procedures are derived and amended bv c.omm•ttees
    19        individuals who are assigned to evaluate or modify existing policies and procedures or derix e

              new  policies and procedures for this agency. Such policies address a wide array of•issues,
   21        including security, housing, transfers and population management. Committees function on a
   22        continuing basis. In addition, policies and procedures and modifications thereto are developed
   23        through self-evaluations and audits conducted internally and in conjunction with other
   24        institutions. Information gathered and derived for purposes of policy planning and analysis is
   25        considered conl]dentiat •ind is maintained in a confidential manner.           Finally, many of CDCR's
   26        policies and procedures are derived based upon budgetary" and fiscal information for which the
   27        Governor and the Legislature have final approval.
   28                 9.    am   also familiar with the process associated with the derivation of'the budget and

             Decl. of Scott Kernan   re   Privileged Documents
Case 2:90-cv-00520-KJM-SCR                                    Document 2914-3            Filed 08/01/08        Page 51 of 90



                       the development of draft budget change proposals for CDCR's internal review and revision
             2         which are submitted to the Department of Finance and ultimat.ely submitted to the Office of the
             3         Governor for final approval.
             4                   10.     have provided documents in the possession of CDCR to counsel for the Defendants
             5         in response to Plaintiffs' Requesl;s for Production of Documents. These documents include
             6        Budg.et Change Proposal packages; draft plans and procedures, associated e-mails, documents
             7        de•teloped to prompt internal debate and analysis, official infomaation which is not made
             8        available to the public, communications with the Office of the Governor and with other
            9         De endants executive levels, and communications with CDCR's attorneys regarding proposed
        10            courses    of action as well as pending and anticipated    litigation,
       II                         1. Many documents        provided to counsel for De•imdants are pre-decisional and bear on
       !2                 ,•,,,,,u,auu•    or   exercise                                        These materials were part of
       .13            the deliberative policy-making process which led to a final decision, or are leading to           future
                                                                                                                    a

       14             final decision, regarding CDCR's   policies, procedures, regulations, or anaendments. Such
       15             documents include recommendations, draft documents, proposals, analysis, legal c•mments, and
       16             other documents which r•flect the. perso•at opinion of the individual writers ratlher than the
   17                 policy of CDCR.
   18                           12.    Many potentially responsive documents were developed through complex analysis of
   19                projections, rules and regulations, other State's endeavors, recommendations •)om staff and the
   20 assessment of possible solutions and barriers. ,,ks such, these documents are pre-decisional,
   21             deliberative, and should be shielded from discovery because disclosure of the documents may
   22             chill future discourse, selfZevaluation and critical analysis.         Furthermore, if individuals fear that
  23             N
  24
  25             li
  26             H
  27
  28


                 1)ecl. of Scott Kernan    rc'Priviieged Documcnis
Case 2:90-cv-00520-KJM-SCR                                    Document 2914-3            Filed 08/01/08            Page 52 of 90




                    deliberative materials will be made public, it may deter discussion and development of beneficial
                   theories and ideaS.
                               declare under penalty of perjury the foregoing is true and correct.
                             F.xecuted on
                                                  •.•¢/•'•¢'A        Z"   •    2007, in Sacralnento, California.
             6
             7                                                        SCOTT K ERN'AN
                                                                     Chief.Deputy Secretary of Adu It Operations
             8                                                       California Department of Corrections and Rehabilitation
         9
        •0




        13




    •6
    17



   2O


   22


   2•
   25
   26
   27




                 )eel. oF Scotl Kernan   re   Privileged Documents
 Case 2:90-cv-00520-KJM-SCR              Document 2914-3           Filed 08/01/08     Page 53 of 90

                         DECLARATION OF SERVICE BY U.S. MAIL

Case Name:   Coleman v. Schwarzenegger, et al.; Plata v. Schwarzenegger, et al.
Nos.: 01-1351 & 90-0520

I declare:

I am employed in the Office of the Attorney General, which is the office of a member of the
California State Bar, at which member's direction this service is made. I am 18 years of age or
older and not a party to this matter. I am familiar with the business practice at the Office of the
Attorney General for collection and processing of correspondence for mailing with the United
States Postal Service. In accordance with that practice, correspondence placed in the internal
mail collection systemat the Office of the Attorney General is deposited with the United States
Postal Service that same day in the ordinary course of business.

On November 07, 2007, I served the attached DEFENDANT RESPONSE TO PLAINTIFF
COLEMAN'S FIRST REQUEST FOR PRODUCTION OF DOCUMENTS by placing a
true copy thereof enclosed in a sealed, envelope with postage thereon fully prepaid, in the internal
mail collection system at the Office of the Attorney General at 1300 I Street,.Sacramento,
California 94244, addressed as follows:



 Claudia Center                                     Richard Goff
The Legal Aid Society                              Heller, Ehrman White & McAuliffe
Employment law Center                              701 Fifth Avenue
600 Harrison Street, Suite 120                     Seattle, WA 98104
San Francisco, CA 94107
Warren E. George                                   Martin H. Dodd
Bingham McCutchen                                  Futterman & Dupree
3 Embarcadero Ctr., F1.24                          160 Sansome Street, 17 th Street
San Francisco, CA 94111                            San Francisco, CA 94109
Ronald Yank                                        Ann Miller Ravel
Carroll, Burdick & McDonough, LLP                  Office of the County Counsel
44 Montgomery Street, Suite 400                    County of Santa Clara
San Francisco, CA 94104                            70 West Hedding, East Wing, 9 th Floor
                                                   San Jose, CA 95110
Jared Goldman                                     Steven s. Kaufhold
California Prison Healthcare Receivership         Akin Gump StrausHauer & Feld LLP
1731 Technology Dr., Suite 700                    580 California Street, 15 th Floor
San Jose, CA 95110                                San Francisco, CA 94102
 Case 2:90-cv-00520-KJM-SCR                    Document 2914-3       Filed 08/01/08     Page 54 of 90

   Rod Pacheco                                          Steven Woodside
   Chuck Hughes                                         Office of the County Counsel
   Office of the District Attorney                      575 Administration Dr., Room 105A
  County of Riverside                                   Santa Rosa, CA 95403
  Riverside, CAStreet,92501First Floor
  4075 Main

  Donald Specter                                       Michael Bien
  Prison Law Office                                    Rosen, Bien and Galvan
  2173 'E' Francisco Blvd., Suite M                    315 Montgomery Street, 10 !h Floor
  SanRafael, CA 94901                                  San FrancisCo, CA 94104


I declare under penalty of perjury under the laws
                                                  of the State of California the foregoing is
and correct and that this declaration                                                         true
                                         executed
                                         was           on   November 1)7, 21)07, at Sacramento,
California.


                 S. Burke
                 Declarant.                                              Signature
Case 2:90-cv-00520-KJM-SCR   Document 2914-3   Filed 08/01/08   Page 55 of 90




                        EXHIBIT F
Case 2:90-cv-00520-KJM-SCR                        Document 2914-3              Filed 08/01/08          Page 56 of 90


         1    EDMUND G. BROWN JR.                                                 HANSON BRIDGETT MARCUS
        Attorney General of the State of California                               VLAHOS & RUDY, LLP
     2 DAVID S. CHANEY                                                            JERROLD C.. SCHAEFER 39374
        Chief As.sistant Attorney General                                         PAUL B. MELLO 19775
     3 FRANCES T. GRUNDER                                                         425 Market Street, 26 '• Floor
       Senior Assistant. Attorney General                                         San Francisco• CA 94105
    .4 ROCHELLE C. EAST                                                           Telephone: (415) 777-3200
       Supervising Deputy Attorney General                                        Facsimile: (415) 541-9366
     5 LISA A. TILLMAN, State Bar No. 126424                                      jschaefer@hansonbridgett.com
       MISHA IGRA, State Bar No. 208711                                           pmello@hansonbridgett.com
     6    1300 1 Street, Suite 125
         P.O. Box 944255
                                                                                                      -RECEIVED
     7   Sacramento, CA 94244-2550
         Telephone: (916) 327-7872                                                                      DEC-i 0 2O0?
        8       Fax: Email:    Lis.a.Tillman@doj.ea.gov,
        9     Attorneys for Defendants                                                         ,Rosen Bien & Galvan
    10                               IN THE .UNITED STATES DISTRICT COURT
                                   FOR THE EASTERN DISTRICT OF CALIFORNIA
    11                          AND FOR THE NORTHERN DISTRICT OF CALIFORNIA
                          UNITED STATES DISTRICT COURT COMPOSED OF THREE JUDGES
    i2                      ru'RSUANT TO SECTION" 2282, TITLE 28 UNII/SD STATES CODE
   13
   14          RALPH     CO.LEMAN, et al.,                                 No. Civ S 2:90-Cv-0520 LKK-JFM P-
   15                           Plaintiffs,                                 TI-IREE YlJI)GE COURT
   16
   17          ARNOLD       sCHWARZENEGGER, et al.,
   18                           Defendants.
   19
   20          MARCIANO PLATA, et al.,                                     No. C01-1351 TEH
   21                          Plaintiffs,                                 THREE ,IUI)GE COURT
  .22              VS.                                                     DEFENDANTS' SUPPLEMENTAL
                                                                           RESPONSE TO PLAINTIFF
   23.        ARNOLD        SCHWARZENEGGER, et al.,                        COLEMAN'S FIRST REQUEST FOR
                                                                           PRODUCTION OF DOCUMENTS
  24                           Defendants..
  25
  .26        III
  27         III
  28         III

             Defendants' Supplemental Response To Plaintiff Ralph Coleman•'s .First Request For Production Of Documents
                                                                       1
Case 2:90-cv-00520-KJM-SCR                               Document 2914-3             Filed 08/01/08          Page 57 of 90


               1     PROPOUNDING PARTY: PLAINTIFF RALPH COLEMAN
           2         RESPONDING PARTY:                  DEFENDANTS TILTON, MAYBERG, GENEST,
           3                                            SCHWARZENEGGER
           4         SET NO:                           ONE
           5                Defendants served their response to Plaintiff Ralph Coleman's First Request For
           6         Production of Documents on November 9, 2007, and hereby supplement their response to
           7         Request numbers 1, 23, 24, 25, 29, 35, and 36.
           8 REQUEST FOR PRODUCTION NO. 1:
           9     All DOCUMENTS and COMMUNICATIONS that REFER or RELATE to the
   10               implementation O f the Court-ordered Revised Program Guide.
   11               RESPONSE TO REQUEST NO. 1-
   i2                     Defendants incorporate eacii and every objection stated in their November 9, 2007, response
   13               to this particular request as well as their overall objections to this set of requests propotmded by
   14               Plaintiff Coleman. To the extent the produced documents identify caseload members,
   15               Defendants     produce these documents subject to any and allprotective Orders in this matter.
   16                     Without waiving these objections, Defendants provide •he following supplemental response
   17              (which will also be provided in electronic format .on or about December 7, 2007 with the same
   18              bates numbers): See the attached Correctional Action Plans, bates numbered CDCR 012266
   19              through CDCR 12354, and CDCR 017923 through CDCR 018145. Please also see the attached
  20               prison tour binders from. Deuel V.ocational Institution, California Institution For Men• California
  21               State Prison, Sacramento and Valley State Prison For Women, bates numbered CDCR 020625
  22               through CDCR 022517.
       3           REQUEST FOR PRODUCTION NO. 23:
  24                       ALL DOCUMENTS and COMMUNICATIONS that REFER or RELATE to the use of or
  25               referral to mental health crisis beds for inmates not previously identified On the MHSDS caseload
  26               during the RELEVANT TIME PERIOD.
  27               ///
  28               ///

                   Defendants'   Supplemental Response To PlaintiffRalph Coleman's First Request For Production Of Documents
                                                                             2
Case 2:90-cv-00520-KJM-SCR                        Document 2914-3              Filed 08/01/08         Page 58 of 90


        1    SUPPLEMENTAL             RESPONSE TO REQUEST NO. 23:
        2          Defendants incorporate each and every objection stated in their Noyember 91 2007, response
        3    to this particular request as well as their overall objections to this set of requests propounded by

        4    Plaintiff Coleman. To the extent the produced documents identify caseload members,
        5    Defendants produce these documents subject to any and all protective orders in this matter.
    6                 Without waiving these objections, Defendants provide the following supplemental response
        7    (which will also be provided in electronic format on or about December 7, 2007 w•th the same
        8   bates numbers): See the attached Summary, Transferred And Rescinded MHCB Referrals By
       9    .Institution ar•.d Prior Level Of Care, bates numbered CDCR 01036 through CDCR 017875.
   10        REQUEST FOR PRODUCTION NO. 24:
                      ALL DOCUMENTS and coMMUNICATIONS that REFER or RELATE to the number.
             of Cut.:MS, •ot" o• other is•9LtSMAN CLASS MEMBERS housed in Reception Centers during
   13       the RELEVANT TIME PERIOD.
   14        SUPPLEMENTAL RESPONSE TO REQUEST FOR PRODUCTION NO. 24:
                   Defendants incorporate each and every. objection stated in their November 9, 2007,
   16       response to this particular request as well as their overall objections to this set 6f requests
   17       propounded by Plaintiff Coleman. To the extent the produced documents identify caseload
   18       members, Defendants produce these documents subject tO any and all protective orders in this
            matter.
                   Without waiving these objections, Defendants provide the following supplemental' response
  21        (which will also be provided in electronic format on or about December 7, 2007 with the same
  22        bates numbers): Seetheattached Mental Health Population Placement Per.Institution dated
  23        2005, 2006, and 2007, bates numbered CDCR 010361 through CDCR 017911.
  24        REQUEST FOR PRODUCTION NO. 25:
  25               ALL DOCUMENTS and COMMUNICATIONS that REFER or RELATE to YOUR                                         or   the
  26        CDCR's   ability to transfer CCMS and EOP inmates out of Reception Centers according to the
  27        time frames established in the Revised Program Guide (60 days for EOP and 90 days for
            CCCM$.)

            Defendants'   Supplemental Response To Plaintiff Ralph Coleman's First Request For Production Of Doouments
                                                                      3
Case 2:90-cv-00520-KJM-SCR                        Document 2914-3             Filed 08/01/08          Page 59 of 90


         1    SUPPLEMENTAL RESPONSE TO REQUEST NO. 25}
         2          Defendants incorporate each and every objection stated in their November 9, 2007, response
         3    to this particular request   as   well as their overall objections to this set of requests propounded by
        4     Plaintiff Coleman. To the extent the produced documents identify caseload members,
        5     Defendants produce these documents subject to any and all protective orders in this matter.
        6            Without waiving, these objections, Defendants provide the following supplemental .response
        7 (which will also be provided in electronic format on or about December 7, 2007 with the same
        8     bates numbers):. See the attached CCCMS Potential Additional Intake to 130% and Weekly EOP
        9     Population Reports for 2007, and EOP Bus Seat Analysis dated 2007, bates numbered CDCR
    10        01059! through CDCR 010637.
    11        REQUEST FOR PRODUCTION NO..29:
    12               ALL DOCUME.N'T• and COMM-U-N-ICATioNS that REFER or RELATE to the CDCR's
   13         Stated capacity for.housing MI-ISDS (EOP, CCCMS, or MHCB) inmates for each CDCR
   14         PRISON housing unit over the past five years.
   15         SUPPLEMENTAL RESPONSE TO REQUEST NO. 29:
   16               Defendants incorporate each and every objection stated in their November 9, 2007 response
   17                                           their overall objections to this set of requests propounded by
             to this particular request as well as

   18        Plaintiff Coleman. To the extent the.produced documents identify •ase.load members,.
   19        Defendants produce these documents subject to any and all protective orders in this matter.
   20               Without waiving these objections, Defendants provide the following supplemental response
   21        (which will also be provided in electronic format on or about December 7, 2007 with.the same
   22        bates numbers): See the attached Mental Health Population Placement Per Institution for 2006,
  .23        batesnumbered CDCR 010416 through CDCR 010506.
  24         REQUEST FOR PRODUCTION. NO. 35:
  25                ALL DOCUMENTS and COMMUNICATIONS                          created, exchanged, or made from
  26         January 1, 2005 to present that REFER or RELATE to YOUR ability to timely place COLEMAN
  27         CLASS MEMBERS in MHSDS beds at each level of care (CCCMS, EOP, MHCB, DMH)
  28         including delays in referral, endorsement and transfer.

             Defendants' Supplemental Response To Plaintiff Ralph Coleman's First Request For Production Of Documents
                                                                     4
Case 2:90-cv-00520-KJM-SCR                        Document 2914-3             Filed 08/01/08          Page 60 of 90


        1    SUPPLEMENTAL RESPONSE TO REQUEST NO. 35
        2          Defendants incorporate each and every objection stated in their November 9, 2007, response
        3      p.articular request as well as their overall objections to this set of requests propounded by
             to this

     4 Plaintiff Coleman. To the extent the produced documents identify caseload members,
     5 Defendants produce these documents subject to any and all protective orders in this matter.
   6         .Without waiving these objections, Defendants provide the following supplemental response
     7 (which will also be provided in electronic format on or about December 7, 2007 with the same
     8 bates numbers): See the attached EOP Population in AdSeg Hubs bates numbered CDCR
     9 010517 through CDCR 010520, Weekly EOP Population Reports for 2005, 2006, and 2007,
   10 bates numbered CDCR 010521 through CDCR 010532, CDCR 010545 through CDCR 010556,
   11        and CDCR 010569 through CDCR 010579, C.CCMS cases for 2005• 2006, and 2007, bates
   i2        numbered CDCK 010533 through CDCR
                                            010544, CDCR 010557 through •A•K ViVa,O, and
   13 CDCR 010580 through CDCR 010590, and Mental HealthRelated Memos re ParticipatiOn in
   t4 Mental Health Delivery System (MHDS); Removal of CCCMS Inmates from MHDS Housing
   15 Policy For Adult Male Inmates Diagnosed With Exhibitionism; Process for Inmate Classification
   16 Score System Point Due to Participation in MHDS; Case Management System Level Of Care
   17 Inmates Housed in Correctional -Training Facility South Level I; Housing Policy For Inmates
   18 Approved For Placement in MHDS; Instructions For Awarding Favorable Behavior Points For
   19 Inmates Assigned To An EOP in General Population; Placement Of Inmates At The CCCMS
  20 Level Of Care Into A Minimum Support'Facility; Psychiatric Services Unit Bed Utilization
  21 Review; CSP SAC Will No Longer House Level IV Sensitive Needs Yard EOP Inmate
  22 PoPulation; General Population EOP Level Of Care Inmates Housed Out Of Level; Housing
  23 Programs and Work Assignments For Inmates Designated At the CCCMS Level of Care;
  24 Amended Housing Policy ForAdult Male Inmates Refen'ed For Treatment of Exhibitionism",
  25 Conversion Of One Building Of Level IV EOP To A Level IV Sensitive Needs Yard EOP at CSP
  26 SAC; Coleman Corrective Action Plan, Centinela State Prison; Bed Utilization Review Of The
  27 Psychiatric Service Unit At CSP SAC; Bed Utilization Review Of Pelican Bay Prison's
  28 Psychiatric Service Unit; Proposed Changes To The Department Operations Manual

            Defendants'   Supplemental Response To PlaintiffRalph Coleman's First Request For Production Of Documents
                                                                      5
Case 2:90-cv-00520-KJM-SCR                       Document 2914-3              Filed 08/01/08          Page 61 of 90


        1    Seetion 62050.12 Psychiatric Management Unit; Level IV EOP Beds; Consideration To Issue A
        2                  Concerning The Housing And Program Accessibility For Inmates Designated
             Notice To CCPOA
     3 As CCCMS Level Of Care; A Review Of Housing Designated Close Custody Inmates In A
     4 Dormitory Setting In The Day Treatment Program And The Intermediate Care Facility at CMF;
    "5 The Department Of Mentla Health's Criteria To Reduce The Number Of Parole Violators Re-
     6 Referals For Evaluation As A Potentially Sexually Violent Predator; The Placement Of Inmates
     7 Ai the CCCMS Level Of Care Into A Minimum Support Facility; Discharging/Trae .ldng the
     8 CCCMS From the Mental Health Services Delivery System After Meeting The Six-Month
     9 Continuous Remission Period; Consideration To Issue A Notice To Meet And Discuss With
   10 CCPOA Regarding Housing, Programs, And Work Assignments For Inmates.Designated At The
   11 CCCMS Level Of Care; and Recommendation For Intermediate Care Facility Housing, bates
   12 numbered CDCR 015846 through CDCR 015938.
   13       REQUEST FOR PRODUCTION NO. 36:
   14                 ALL DOCUMENTS and COMMUNICATIONS that.REFER or RELATE to YOUR
   15       ability to transfer-COLEMAN CLASS MEMBERS housed in administrative segregation or
   16       administrative-segregation overflow housing units for non-disciplinary reasons from October 17,
  17        2006 to present.
  18        SUPPLEMENTAL RESPONSE TO REQUEST NO. 36:
                   Defendants incorporate each and every objection stated in their November 9, 2007,
  20        response to this particular request as well as their       overallobjections tO thj.'s set of requests
            propounded by Plaintiff Coleman. To •he extent the produced documents identify caseload
  22        members, Defendants produce these documents subject to any and all protective orders in this
  23        matter.

  24              Without waiving these objections, Defendants provide the following supplemental response
  25 (which will also be provided in electronic format on or about December 7, 2007 with the same
  26 bates numbers): See the attached Spreadsheets of EOP Population.In ASU Hubs for January
  27 2007 through September 2008 bates numbered CDCR 010507 through CDCR 010513, Average
  28 ///

            Defendants' Supplemental Response To PlaintiffRalph Coleman's First Re, quest For Production Of Documents
                                                                    6
Case 2:90-cv-00520-KJM-SCR                         Document 2914-3              Filed 08/01/08         Page 62 of 90


        1    Monthly EOP Population In ASU Hubs for January 2007 through September 2008, bates
        2    numbered CDCR 010513 through CDCR 010516.
        3    Dated: December 7, 2007
                                                     Respectfully submitted,
        5
        6                                            EDMUND G. BROWN JR.
                                                     Attorney General of the State of California
        7                                            DAVID S.. CHANEY
        8                                            Chief Assistant Attorney General
                                                    FRANCES T. GRUNDER
        9                                            Senior Assistant Attorney General
   10                                                ROCHELLE C. EAST
                                                     Supervising Deputy Attorney General
  11

   12

   13
                                                    LISA A. TILLMAN
   14                                               Deputy Attorney General
                                                    Attorneys for Defendants
   15
   16
   17
   18       3o358310.•pd
            SF2007200670
   19
   2O
  21
  22


  24
  25
  26
  •7
  28

            Defendants'    Supplemen.tal Response To PlaintiffRalph Coleman's First Reqhest For Production Of Documents
                                                                       7
Case 2:90-cv-00520-KJM-SCR             Document 2914-3           Filed 08/01/08      Page 63 of 90



               DECLARATION OF SERVICE BY OVERNIGHT cOURIER

Case Name:     Coleman v. Schwarzenegger, et a£; Plata v. Schwarzenegger, et al.
Case Nos:      Civ S 2:90-cv-0520 LKK-JFM P / C01-1351 THE

I declare:

I am employed in the Office of the Att6rney General, which is the office of a member of the
California State Bar, at which member's direction this service is made. I am 18 years of age or
older and not a party to.this matter; my business address is: 13001 Street, Suite 125, P.O. Box
944255, Sacramento, CA 942.44-2550.
On December 7, 2007, I served the attached DEFENDANTS' SUPPLEMENTAL
.RESPONSE TO PLAINTIFF COLEMAN'S FIRST REQUEST FOR PRODUCTION OF
DOCUMENTS by placing a true copy thereof enclosed in a sealed envelope with Golden State
.Overnight, addressed as follows:
Donald Specter
Prison Law Office•
2173 'E' Frarteisco Blvd., Suite M
San Rafael, CA 94901

Michael Bien
Rosen, Bien and Galvan
315 Montgomery Street, 10th Floor
San Francisco, California 94104

I declare under penalty of perjury under the laws of the S•te of California theforegoin.•¢• true
and correct and that this declaration was executed on DeeewAlb  x 7, 2•07, at Sacramento/




30362692.wpd
Case 2:90-cv-00520-KJM-SCR   Document 2914-3   Filed 08/01/08   Page 64 of 90




                        EXHIBIT G
Case 2:90-cv-00520-KJM-SCR                        Document 2914-3               Filed 08/01/08        Page 65 of 90
        I     EDMUND G. BROWN JR.
             Attorney General of the S .tare of California
        2 DAVID SI CHANEY
          Chief Assistant Attorney.General
        3 FRANCES T. GRUNDER
          Senior Assistant ARomey General
       4 ROCHELLE C. EAST                                                                    RECEIVED
          Supervising Deputy Attorney General
       5 MISHA D. IGRA, State Bar No. 208711
          Deputy Attorney General                                                            DEC 0   2007
       6 1300 I.Street,    Suite 125
            P•O. Box 944255
       7 Sacramento, CA 94244•2550                                               Rosen, Bien & Galvan
            Telephone.." (916) 324-5388
       8    Fax: (916) 324-5205
            Email: Misha.Igra@doj.ea. gov
       9
          Attorneys for Defendant
   10
                                        IN THE UNITED STATES DISTRICT COURT
   11                                 FOR THE EASTERN DISTRICT OF CALIFORNIA
   12'                              AND THE .NORTHERN DISTRICTOF CALIFORNIA
                           r•rr-r•n STA•"I•S                                      THREE J U U L•-•O
   13                                           .,•,.., ,-.,-,,•,• ,•u•v-•uo•u ur

                            PURSUANT TO SECTION 2284, TITLE 28 UNITED STATES CODE
 •14
  15
              RALPH      COLEMAN, et al.                                        No.: CivS 90•0520 LKK-JFM P
  16                            plaintiffs,
  17
                                V,
  18          ARNOLD        SCHWARZENEGGER, et air,
  19                            Defendants
  20          MARCIANO          PLATA, et al.,                                 No. C01-1351 THE
 21                            Plaintiffs,
  22                                                                           DEFENDANTS' RESPONSE TO
                                                                               PLAINTIFF COLEMAN'S
  23         ARNOLD        SCHWARZENEGGER, et al.,                             PRODUCTION OF DOCUMENTS
  24                           Defendants
                                                      PLAINTIFF RALPH COLEMAN
 26         R SPONDI G PARTY:.                        DEFENDANTS  SCHWARZENEGGER, TILTON,
 27                                                   GENEST, AND MAYBERG
 28         SET NUMBER:                               TWO


            Defendants' Response to Plaintiff's Second Request for Production of Documents
                                                                      1
Case 2:90-cv-00520-KJM-SCR                        Document 2914-3              Filed 08/01/08    Page 66 of 90
        1    REQUEST FOR PRODUCTION NO. 39:
        2                "ALL MEDICAL RECORDS                 created, maintained and/or in the possession of the
        3    DEPARTMENT for th• RELEVANT PERSONS."
        4    RESPONSE TO REQ•ST FOR PRODUCTION NO. 39:.
        5                Defendants object to this requestas overbroad by failing to discriminatebetween
        6 mental health and physical health records.     Physical health records are not relevant to the issues
        7 in this proceeding, including whethe• the inmate is receiving eonstitutionally adequate mental
        8 health care as defined in the court-approved Revised Program Guide, nor whether overcrowding
        9' is the.pfim.ary cause of Defendants' historical failure to provide constitutionally adequate mental
   10        health care to inmates with serious mental disorders.
  11                     Defendants further object on the grounds that Bruce Diekerson is not a member of the
   12        certified Coleman class. As a result, his records are not relevant to the issues in.this proceeding.
             Beeause.,he is not a class member, his medical records are protected underHIPAA and do not fall
   14        within the protections of the protective order entered in Coleman v. Schwarzenegger.
   15                   Defendants further object on the grounds that Roman Valdez has been paroled, is no
   16        longer an inmate, and therefore is not a member of the certified Coleman class..Because Mr.
   17       Valdez is not a member of the certified Coleman class, his records are not relevant, to the issues
   18       in this proceeding.
  19                    Defendants further object on the grounds that the requested records have already been
            made available to Plaintiffs' counsel in accordance With an agreement between counsel. Such.
  21        agreement is memorialized in the emails attached as Exhibit A to these responses. The
  22        agreement was reached before Plaintiffs propounded discovery for the very same documents they
  23        have already obtained. Requiring Defendants to provide Plaintiffs with a second set of the very
  24        same documents they have already copied would impose an undue expense and burden upon
  25        Defendants which is not outweighed by Plaintiffs' desire to obtain two sets of the same.
  26        documents.
  27        REQUEST FOR PRODUCTION NO. 40:
  28                    "ALL CENTRAL FILES created, maintained and/or in the possession of the

            Defendants' Response to Plaintiff's Second Request for Production of Documents
                                                                     2
Case 2:90-cv-00520-KJM-SCR                       Document 2914-3              Filed 08/01/08   Page 67 of 90

        1    DEPARTMENT for the RELEVANT PERSONS?'
                                                                                         ..

             RESPONSE TO REQUEST FOR PRODUCTION NO. 40.
       3                 Defendants object to this request on. the basis of the official information privilege. The
       4     request seeks records in the listed inmates' centralfiles, including those which contain
       5     confidential gang and witness information; records of investigations. Further; the request is
   .6        overbroad by seeking documents which are not relevant to the issues in this proceeding.
   7"                    Defendants further object on the grounds that Bruce Dickerson is not a member of the
       8    certified Coleman class. As a result, his records are not relevant to the issues in this proceeding.
       9    Beeanse he.is not a class member, his medical records-are protected under HIPAA and do not fall
   10       within the protections of the protective order entered in Coleman v. Schwarzenegger.
   11                    Defendants. further object on the grounds that Roman Valdez ha• been paroled, is no
   12       longer an inmate, and therefore is not a me•nberofthe certified Coleman class. BecauseMr.
   13       Valdez is not a member of the certified Coleman class, his records are not relevant to.the issues
   14       in this   pr0eeeding.
   15                    Defendants further object on the grounds that the requested records have alreadybeen
   16       made available to Plaintiffs' counsel in accordance with an agreement between counsel. Such
   17       agreement is memorialized in the emails attached as Exhibit A to these responses. The
  .18       agreement was reached before Plaintiffs propounded discovery for the very .same documents they
   19       //
  20        //
  21        //
  22: //
  23
  24        N
  25        //
  26        N
  27        H
  28

            Defondants' Respons• to Plaintiff's Second Request for Production of Documents
                                                                     3
Case 2:90-cv-00520-KJM-SCR                        Document 2914-3              Filed 08/01/08         Page 68 of 90

         1    have. already obtained.Requiring Defendants to provide Plaintiffs with a second set of the very
        2     same documents they have already copied would impose an undue expense and burden upon

        3     Defendants which is not outweighed by Plaintiffs' desire to obtain two sets of the same
        4     documents.
        5                Dated:    Deeember5, 2007
       6                                                                    Respectfully submitted,
                                                                            EDMUND G. 'BROWN JR.
                                                                            Attorney General of the State of California'
       7
       8                                                                    DAVID S. CHANE.Y
       9
                                                                            Chief Assistant Attorney General
                                                                            FRANCES T. GRUNDER
                                                                            Senior Assistant Attorney General
                                                                            ROCHELLE C. EAST
   11                                                                       Supervising Dep•aty Attorney General
   12
   13
   14
                                                                            MISHA D. IGRA
  15                                                                        Deputy Attorney General
                                                                            Attorneys for Coleman-Defendants
   16
   17
   1.8
   19
  20
  21
  22
  23
  24
  25
  26
  27
  28

             Defendants' Response to Plaintiff's Second Request for Production of Documents
                                                                      4
Case 2:90-cv-00520-KJM-SCR   Document 2914-3   Filed 08/01/08   Page 69 of 90




                                EXHIBIT A



                   COLEMAN DEFENDANTS' RESPONSE TO
       PLAINTIFFS' SECOND REQUEST FOR PRODUCTION OF DOCUMENTS
                                                                                                    Page of 3
Case 2:90-cv-00520-KJM-SCR                    Document 2914-3             Filed 08/01/08         Page 70 of 90

 Misha Igra -•Re: List iof Records For Copying                                    by Plaintiffs ''
 Counsel

 From:                Lisa Tillman
 To:                  3ane E. Kahn
 Date:                11/14/2007 4:50 PM
 Subject:             Re: List of Records For  Copying by Plaintiffs" Counsel
 CC:                  !trujillo@prisonlaw.com.; michael.st0ne2@cdcr.ca.gov;. Misha
                      !gra; sfama@prisonlaw.com
 .November 13, 2007
 Dear .lane,

 As discussed today; my client is willing to have you send a cow service to obtain the UHR and C-file (minus and
 "confidential" records) on the indicatEt Cole caseload members for forwarding to your expert, Mr. Haney.
 Mr. Stone asks only that you (1) provide him with advance noUce of the date .the cow.service will be sent to
 each site so the litigation coordinator will can have sufficient time to obtain the documents and (2) pmgide a
 disk of the information collected.
   also Indicated that I am presently determining whether my expert, Dr. Packer, can conduct tours of certain
 .institutions (e.g.CSP-Sacramento, CHF Vacaville, R.ID, C1•, SVPp, and possibly others) starting Monday,
 November 26 (the week following Thanksgiving).
 I also indicated ] am-open to any further discussion conceming the Umlng of any supplemental    reports from the
 Plaintiffs' and Defendants' experts.
 Thanks very .much.

-Best,
 Lisa

 >>>     '3ane E. Kahn" <jkahn@RBG-Law.com> 11/6/2007 11:00 AM >>>
 November 6; 2007
 Dear Lisa:
 R•.Inw     Rr•   n   li.•t nf inmnf•.-nnti•_nts.thnt r)r    H•_.n.•_• int•n,i=•^,•d du.H..n.• hi• expert
 tours at CIM,SVSP, VSPW and Mule Creek State Prison. We would like to
arrange a copy service to go into the prisons to copy the Unit Health Records
and Central Files for each of the inmates listed below. We will provide a copy of
each file. Please confirm whether we can proceed with this process.
Thank you very much for your consideration, of this request.



filc://C:XDocumcntsand Scttings•IgraM•ocal ScttingsWcmp\GW} 00006.HTM                                  12/5/2007
Case 2:90-cv-00520-KJM-SCR            Document 2914-3         Filed 08/01/08
                                                                                 Page 2 of 3
                                                                               Page 71 of 90

Since•'ely,
Jane Kahn



 Adam Pilger                      F-16537       CIM
 R. Valdez                        V-94194       Ci•                                  '



 Sanchez                          V-74858       CIM
 McDaniel                         V-95501       CIM
 Aguirre                          V-13076       C!M
 Pellum                     v-29309             CIM
 Helena Marie      Marquez' X-11652             VSPW
 aka Selina Sanchez
 Strain                           W'55583       vs w.
 Kimberly Jeffrey.                X-17813       VSPW
 Shuma Smith                      W'97393 "V•PW
 Sophia Winslow                   W-56392       VSPW.
 Tameka Williams                  W-91887       VSPW
 Deed                             T-85587       SVSP
 Hall                             T:52491       SVSP
 Dickerso•                        V-42525       svsP
 Maresea                          D-11566       SVSP
 Paul Garcia                      J-17311       SVSP
 Armen Yapundzhyan.               T-67i80       SVSP
 Cota                            J-71004        MCSP
 West                            V-52033        MCSP
 Cartles Hemandez                               MCSP
 Sean Newton                                    MCSP
 Corv Sehrieber                   C-65114       MCRP
 Frar• Adams                      E-67632       MCSP
 DeShone Smith                    T-02831       MCSP
 Myron Hughes                     J-91350       MCSP


3ane Kahn


file://CADocuments and Settingsklgra/VlkLoeal Settings\Temp\GW}00006,HTM           12/5/2007
Case 2:90-cv-00520-KJM-SCR                      Document 2914-3               Filed 08/01/08
                                                                                                          Page 3 of 3
                                                                                                       Page 72 of 90


ROSEN, BIEN & GALVAN
315 Montgome .ry Street, Tenth Floor
San Francisco, CA 94104
Telephone: 415/433-6830
 Fax: 415/433-7•104.
j ka .h_n_@_r_b_ g.- i_a_w_...c_0. _m.
The information contained in this e-mail message maybe privileged, confidential •nd protected from disclosure.
ff you are not the intended recipient, any dissemination, distribution, or copying is strictly prohibited. If you think
you have received this e-mail message in error, please e-mail .the sender at •_g•-_l_aw._..._c•.m_,

-IRS CIRCULAR 230 NOTICE: As.required by United States Treasury Regulations, you should be
 aware that .this communication is not intended by the sender to be used, and it cannot be used, for the
purpose of avoiding          penalties
                               under United States federal tax laws.




file://C:•Documents and Settings\IgralVlkLoeal Settings\Temp\GW}00006.HTM                                     12/5/2007
Case 2:90-cv-00520-KJM-SCR   Document 2914-3   Filed 08/01/08   Page 73 of 90




                         EXHIBIT H
                                                                                                         Page 1 of 2
     Case 2:90-cv-00520-KJM-SCR                Document 2914-3           Filed 08/01/08        Page 74 of 90

  Maria Morris

  From:    Amy Whelan [AWhelan@RBG-Law.com]
  Sent:    Wednesday, June 25, 2008 11:42 AM
  To:      'Lisa Tillman'; Kyle Lewis
  Cc:      'Rochelle East'; 'Misha Igra'; Charles Antonen; 'Samantha D. Tama'; 'Paul B. Mello'; Coleman Team
             RBG Only; 'Rebekah Evenson'; Sara Norman; 'Alison'
  Subject: Discovery Meet and Confer, Plata/Coleman
June 25, 2008
Dear Lisa and   Kyle,
Thank you for meeting with me and Rebekah Evenson yesterday afternoon about ongoing Coleman/Plata
discovery issues. We are writing to confirm the agreements we reached during the call in the hope of moving
forward efficiently with discovery for the Three-Judge trial.

First, we discussed supplemental discovery responses. Lisa conveyed your clients' view that they are not
required to supplement any discovery in light of the volume of documents that have already been produced. We
disagree with this position, which we believe to be contrary to Rule 26(e). In order to focus those efforts,
however, we offered to identify a list of documents that you previously produced, for which we seek updates. We
can provide a list of t•hose documents by the end of this week. Lisa agreed to let us know by Thursday of this
week whether your clients will agree to provide updates of the documents that we specifically identify. Lisa also
agreed to tell us by Thursday whether defendants will supplement incomplete or incorrect interrogatory
responses.
Second, we informed you that we intend to tour with our experts unless you will stipulate that conditions have not
changed since the last round of tours. Lisa agreed to let us know by Thursday of this week whether defendants
will oppose the proposed tours and whether they would be amenable to a stipulation stating that conditions
remain unchanged since the last round of tours.
Third, we explained our position that, per Judge Moulds' order, Plaintiffs' counsel are entitled to accompany
defense experts on any prison tours they conduct. Lisa explained that she was unaware of any scheduled tours,
but agreed to let us know by Thursday if Dr. Packer will conduct additional tours. We discussed Judge Moulds'
existing order requiring defendants to provide reasonable notice of any defense expert tours and Lisa said that
she would abide by this order. We also said that we would be amenable to having plaintiff and defense experts
tour facilities together.

Fourth, we asked about the status of Dr. Packer's and Doug McKeever's expert involvement in the case. Lisa
confirmed that Dr. Packer is still a defense expert, but she was not sure about Doug McKeever's ongoing
involvement. In any event, Lisa said that defendants would file an amended disclo•sure if experts change.

Fifth, we discussed defendants' production of Coleman tour binders. Lisa said that she intends to produce the
remaining 20th round binders within the next two weeks, but refused to produce the 21 st round on the grounds
that defendants do not believe they are required to supplement their discovery responses. Lisa agreed to take
this issue to your clients, however, and will let us know by this Thursday whether defendants will produce the
relevant portions of the 21 st round binders.

Sixth, we discussed authenticating documents for trial, and preliminarily agreed that we would attempt to reach
stipulations regarding the authenticity (and foundation) of documents once the parties have a better sense of trial
exhibits and deadlines for the case.

Seventh, we let you know that we are likely to depose James Tilton and Joan Petersilia in early to mid-July. Lisa
agreed to determine whether she represents Mr. Tilton. It is our understanding that the Attorney General's office
does not represent Ms. Petersilia, but we hope to coordinate her deposition, and Mr. Tilton's, as appropriate.



7/15/2008
                                                                                                                 Page 2 of 2
       Case 2:90-cv-00520-KJM-SCR                  Document 2914-3             Filed 08/01/08         Page 75 of 90

Finally, Rebekah explained that Plaintiffs need certain data for Dr. James Austin to complete his expert analysis.
 As you requested, Rebekah will send a letter later today explaining some of the data we seek, and suggesting an
informal method for requesting/producing this data.

Thank you again for meeting with us. As we agreed during the call, Rebekah and              will be available Thursday at
2:00 p.m. to follow-up on all of these matters.

Sincerely,
Amy Whelan, Esq.
Rosen, Bien & Galvan LLP
315 Montgomery Street, 10th Floor
San Francisco, CA 94104
T: 415/433-6830
awhela n. r@Lb•rlaw.co m
www.   rbg-law.com
CONFIDENTIALITY NOTICE
The information contained in this e-mail message may be privileged, confidential and protected from disclosure. If you are
not the intended recipient, any dissemination, distribution or copying is strictly prohibited. If you think that you have
received this e-mail message in error, please e-mail the sender at rbg@rbg-law.com <mailto:rbg@rbg-law.com>

IRS CIRCULAR 230 NOTICE: As required by United States Treasury Regulations, you should be aware that this
communication is not intended by the sender to be used, and it cannot be used, for the purpose of avoiding penalties under
United States federal tax laws.




7/15/2008
Case 2:90-cv-00520-KJM-SCR   Document 2914-3   Filed 08/01/08   Page 76 of 90




                         EXHIBIT I
                                                                                                             Page 1 of 3
       Case 2:90-cv-00520-KJM-SCR                   Document 2914-3         Filed 08/01/08       Page 77 of 90
      Maria Morris
      From:        Lisa Til!man [Lisa.Tillman@doj.ca.gov]
      Sent:    Thursday, June 26, 2008 5:16 PM
      To:      Amy Whelan
      Cc:      Charles Antonen; Kyle Lewis; Misha Igra; Rochelle East; 'Paul B. Mello'; Renju P. Jacob;
               'Samantha D. Tama'; 'Alison'; Donald Specter; 'Rebekah Evenson'; Sara Norman; Coleman Team
               RBG Only
      Subject: Re: Discovery Meet and Confer, Plata/Coleman

    Dear Ms. Whelan,

    We certainly hoped to respond to your inquiries by this afternoon.   However, that has not been possible•   I trust
    that you will await further word from us.

    Please note that your letter incorrectly states that I agreed to let you know by Thursday if Dr. Packer will
    conduct additional tours. I do not recall making any such statement. Nor do I recall any discussion of any
    alleged incomplete or incorrect interrogatory responses. Lastly, I do not acquiesce nor understand your
    belief that "the Attorney General's office does not represent Ms• Petersilia."

    I thank you for your patience and look forward to seeing you tomorrow at the hearing.

    Sincerely,
    Lisa Tillman
 Deputy Attorney General
 Office of the Attorney General
 Telephone: 916-327-7872


>>> Amy Whelan <AWhelan@RBG-Law.com> 6/26/2008 4:52 pIVl >>>
Lisa and Kyle,
We have not yet heard from you in response to the meet and confer issues that we discussed on Tuesday. We
understood that you would call us today at 2:00 p.m. so that we could have a better understanding of
positions in advance of tomorrow's status conference. Please let us know when we can expect to hearyourfrom you
about these issues.

Take care,

Amy Whela•:• Esq.
Rosen, Bien & Galvan LLP
315 Montgomery Street, 10th Floor
San Francisco, CA. 94104
T: 415/433-6830
awhelan@rbg-law.com
www.     rbg-law.com
CONFIDENTIALITY NOTICE
The information contained in this e-mail message may be privileged, confidential and protected from disclosure.
If you are not the intended recipient, any dissemination, distribution or copying is strictly prohibited. If you think
that you have received this e-mail message in error, please e-mail the sender at rbg@rbg-.law.com
<   mailto:rbg@rbg-law.com >


7/15/2008
Case 2:90-cv-00520-KJM-SCR   Document 2914-3   Filed 08/01/08   Page 78 of 90




                         EXHIBIT J
Case 2:90-cv-00520-KJM-SCR                    Document 2914-3                  Filed 08/01/08                Page 79 of 90


                                                                                       PAGES     i      43

                                       UNITED        STATES       DISTRICT              COURT

                           FOR    THE     EASTERN           DISTRICT          OF        CALIFORNIA

                     AND        FOR    THE     NORTHERN           DISTRICT              OF     CALIFORNIA

      UNITED      STATES        DISTRICT        COURT        COMPOSED          OF        THREE       JUDGES    PURSUANT

                     TO    SECTION           2284,     TITLE       28     UNITED              STATES    CODE


     RALPH       COLEMAN,        ET    AL.,

                            PLAINTIFFS,
           VS.                                                          NO.        CIV        LS-90-0520       LKK     JFM   P

     ARNOLD       SCHWARZENEGGER,               ET    AL.
                                                                        THREE-JUDGE                  COURT
                            DEFENDANTS.



     MARCIANO       PLATA,        ET    AL.,

                            PLAINTIFFS,
     VS.                                                                NO.        C     01-1351       TEH

     ARNOLD      SCHWARZENEGGER,               ET    AL.

                           DEFENDANTS.


                                        TRANSCRIPT           OF    PROCEEDINGS

                                        SAN    FRANCISCO,           CALIFORNIA
                                             FRIDAY, JUNE           26,       2008

     (APPEARANCES          ON    FOLLOWING           PAGES)



     REPORTED BY:           JOAN MARIE COLUMBINI,  CSR                                 5435,     RPR
                             OFFICIAL COURT REPORTER,                                  U.S.     DISTRICT       COURT



                                 JOAN MARIE COLUMBINI,  CSR, RPR
                                 OFFICIAL COURT REPORTER,   USDC
                                                415-255-6842
                                                                                                                                                                   34
 Case 2:90-cv-00520-KJM-SCR                                                Document 2914-3                             Filed 08/01/08                      Page 80 of 90

          1    EXPERTS'           GOT         ENOUGH                  OF    A     SENSE           OF        THE        PRISONS                AT     THAT           TIME               TO
          2    GIVE       THE     COURT                          THEY'VE           ALL       WRITTEN                   THEIR            REPORTS.                    I        DON'T
          3    THINK           THEY'VE            BEEN           FILED,            BUT       THEY               HAVE        BEEN            GIVEN         TO        THE           OTHER
          4    SIDE       WHICH         PROVIDE                  ALL        THE       EVIDENCE.                        IF     WE        DO     THE        SITE
      5        INSPECTIONS,                   WE       WILL            HAVE       TO     REDO               THOSE           OVER         AGAIN,            AND               IT    WILL
      6        BE     A   FAIR        AMOUNT                OF    WORK.

      7                                 SO        OUR        PREFERENCE                  WOULD                  BE    NOT         TO     DUPLICATE                      IT,
      8        BECAUSE           IT'S        EXPENSIVE                      AND       IT'S        ALREADY                   BEEN         DONE,        BUT               WE        DON'T
      9        WANT       TO    GET        SANDBAGGED                       LATER.             THAT'S                 ALL.

 i0                                    JUDGE            HENDERSON:                       MR.           BIEN.

 ii                                    MR.         BIEN:                   I'LL       ADDRESS                   THE    OTHER            TWO        QUESTIONS.
 12                                    IN         TERMS           OF        THE       IDEA        OF            DISCLOSING                   THE     NAMES               OF        OUR

 13           EXPERTS           AND        THEIR             IDENTITIES                  AND           THEN           HAVING            A     PERIOD            OF           TIME

 14           BEFORE           THEY        FILE         THEIR              REPORTS,               I     THINK               THE        IDEA,         AND        WE

 15           THOUGHT           THAT         WAS        A        GOOD        IDEA,        IN          TERMS            OF     LETTING                EVERYONE                      GET

 16           EXPERTS           TOGETHER                AND           KNOW        WHAT       TOPICS                   ARE     AT        ISSUE         SO       WE            DON'T
 17           HAVE              LESS         OF    A        NEED           FOR     REBUTTAL                     KIND         OF        EXPERTS,            SORT               OF

18            YOU     KNOW       WHO         THE        EXPERTS                 ARE    AND            THE            REPORTS            ARE        COMING               BEFORE
19            THEIR       DEPOSITIONS.                            IT'S          MORE     JUST               A    MATTER            OF        CONVENIENCE                          AND
20            EFFICIENCY              RATHER                THAN           ANY    DIRE         NECESSITY.
21                                    IN      TERMS              OF        THE    DISCOVERY                      CUTOFFS,                WE        FEEL        THAT               THE
22            DATES       SUGGESTED                BY        BOTH           THE       INTERVENORS                       AND        DEFENDANTS                   ARE

23            EXTREMELY           LIMITING,                      ESPECIALLY                  IN        LIGHT            OF        THE        STAY      THAT              WAS            IN

24            EFFECT       FOR        THE         LAST           THIRTY           DAYS.                WE        SERVED            LITTLE            OR        NO
25            DISCOVERY           SINCE            FEBRUARY.                      THERE'S               BEEN            JUST           SOME        CLEAN-UP                       ON


                                                   JOAN MARIE COLUMBINI, CSR, RPR
                                                   OFFICIAL COURT REPORTER, USDC
                                                                            415-255- 6842
                                                                                                                                                                           35
Case 2:90-cv-00520-KJM-SCR                                              Document 2914-3                                  Filed 08/01/08                     Page 81 of 90

          1    MATTERS            THAT         WERE           HANGING,               AND            WE    HAVE            DONE            NO        DISCOVERY         OF       THE

      2        INTERVENORS,                    OTHER           THAN               SOMETHING               THAT            WAS        FILED            WELL        BEFORE

      3        THE     FIRST        STAY.                    AND     THE           ODDS        OF        US     BEING               ABLE        TO     SERVE

      4        DISCOVERY            ON         MONDAY              AND        GET        ANSWERS                AND            FINISH           EVERYTHING                IN     45

      5        DAYS     IS     VERY            LIMITED.

      6                                 WE,         OF        COURSE,               WILL           EXPEDITE                   EVERYTHING,                   BUT     OUR

      7        EXPERIENCE               IS      THERE              IS        GOING         TO        NEED           TO        BE     MORE           TIME      THAN        THAT,
      8        GIVEN        THE     KINDS            OF        OBJECTIONS                      AND        NORMAL                KIND           OF    PROCESS          THAT

      9        HAPPENS.

 i0                                     VERY         LITTLE                  PHASE        TWO            DISCOVERY                   WAS        DONE,        AS    YOU

 ii           RECALL,         AND         WE        REALLY,                  IN    THE         INTEREST                   OF        THE        SETTLEMENT

 12           PROCESS,            HELD         BACK            AND           DIDN'T            DO        DISCOVERY                   DURING           THAT        PERIOD,
 13           EVEN     WHILE            DISCOVERY                   WAS           OPEN.             WE        DID         SOME        CLEAN           UP     OF    THINGS

 14           THAT     WERE        HANGING                   AND        FINISHED                   SOME        OF         THE        MOTIONS               THAT    WERE

 15           PENDING         BEFORE               MAGISTRATE                      JUDGE            MOULDS.

16                                   JUDG•               H•ND•R$ON:                       THANK               YOU.             COUNSEL               FOR     CCPOA.

17                                   MS.           LEONARD:                       YES,         THANK           YOU,            YOUR            HONORS.

18                                   WE        TOOK           NO        POSITION                AS       TO     YOUR               QUESTIONS                RELATING            TO

19            EXPERT         DISCOVERY,                      BUT        WE        WOULD         STAND           WITH               PLAINTIFFS                IN    STATING

20            THAT     IT     WOULD            BE        A    CONVENIENCE                       TO       ALL         OF        THE        PARTIES            IN    TERMS

21            OF     SCHEDULING                ON        THIS           EXPEDITED                   SCHEDULE                   TO     DO              TO     IDENTIFY

22            TRIAL     WITNESSES                   IN        ADVANCE.                    WE        DO        HAVE        A        LIMITED            TIME.          WE

23            WANT     TO     KEEP           THE         LIMITED                  TIME.             WE    ALL            WANT         TO       GET     TO     TRIAL        ON

24            THE     17TH.         I        THINK            IT     WOULD           BE        A     MATTER               OF        EXTREME            EFFICIENCY.

25                                  WITH            RESPECT                  TO     SITE            VISITS,               OF        COURSE,            EVERY         DAY       IS


                                                    JOAN MARIE COLUMBINI,  CSR, RPR
                                                    OFFICIAL COURT REPORTER,   USDC
                                                                             415-255-6842
                                                                                                                                                                               36
Case 2:90-cv-00520-KJM-SCR                                              Document 2914-3                            Filed 08/01/08                        Page 82 of 90

          1    A    SITE        VISIT            FOR        US,        AND     WE     WOULD               TAKE         NO        POSITION.

      2                                 JUD•Z               HZND•R•ON:                     LET        ME        MAKE         SURE        I     UNDERSTOOD                      YOU.

      3        IT     WOULD       BE        AN     INCONVENIENCE                           TO        DISCLOSE                WITNESSES                  IN        ADVANCE?

      4                                MS.         LEONARD:                    NO,         NO,        YOUR        HONOR.                 ON        THE       CONTRARY,
      5        IT     WOULD       BE        A     CONVENIENCE                   TO         DISCLOSE               THEM            TO     EXPEDITE                  THE

      6        DISCOVERY           SCHEDULE                      AND      DEPOSITION.

      7                                MS.         EAST:                YOUR         HONOR,               DEFENDANTS'                    POSITION                  IN

      8       PARTICULAR               IS         THAT           THE     PERCIPIENT                       AND     PAPER            DI'SCOVERY,                     THAT

      9       THAT      CUTOFF              BE     SOONER,               IDEALLY,                   VERSUS             THE       DATE         WE     PROPOSED,
 i0           WHICH         I    BELIEVE               IS        AUGUST         15TH.                 THE        REASON            FOR        THAT           IS,        LIKE

 ii           PLAINTIFFS,                   WE,        TOO,        ARE         REALLY               GEARING             UP       AND         GOING           INTO        A

 12           PRETRIAL            MODE.                OUR        FEELING             IS        THAT,            ESPECIALLY                   WITH           THAT

 13           TWENTY-DAY               DISCOVERY                   TURNAROUND,                       THAT         SIX        WEEKS            OF     FURTHER

14            DISCOVERY                         AND,        AS     YOU         KNOW,            A    GREAT         DEAL            HAS        ALREADY               TAKEN

15            PLACE               THAT            SHOULD           BE        ENOUGH             TO        GET     US        TO    WHERE            WE        NEED        TO

16            GO.

17                                     WE        BELIEVE                THE     TIME            SPENT           AFTER            THE      CLOSE              OF    THAT

18            KIND     OF        DISCOVERY                  IS     BETTER            SPENT            PREPARING                   THE         TESTIMONY                  BY

19            AFFIDAVIT,               PREPARING                   THE        COURT'S                BINDERS,                AUTHENTICATING

20            DOCUMENTS,               FOR        EXAMPLE,                   THOSE         SORTS            OF     THINGS.                    SO    WHILE

21            CERTAINLY           WE        BELIEVE                THAT         SCHEDULE                   THE     DEFENDANTS                      PROPOSED                   IS

22            CERTAINLY           ONE            THAT'WE'D                   OFFER.                 THE     DATE            IN    PARTICULAR,                      WE

23            FEEL,        IS    APPROPRIATE                       IS     TO     HAVE               THAT        DISCOVERY                CUTOFF               IN        THE

24            MIDDLE        OF    AUGUST               RATHER             THAN        LATER.

25                                 AS            FAR        AS    THE         EXPERT                TESTIMONY                      AGAIN,                THERE'S


                                                   JOAN MARIE COLUMBINI,  CSR, RPR
                                                   OFFICIAL COURT REPORTER,   USDC
                                                                          415-255- 6842
                                                                                                                                                          37
Case 2:90-cv-00520-KJM-SCR                                 Document 2914-3                           Filed 08/01/08                      Page 83 of 90

         PROBABLY           SOME        ROOM,        AND     WE'RE                PROBABLY            CLOSER            TO        PLAINTIFFS,
         AND     CERTAINLY                     WE    WOULD         CERTAINLY                   BE     WILLING                TO    GIVE        THERE.

         THAT'S       NOT     OUR        ISSUE,            NOT     LIKE            THE       PRIOR         ONE.

                              AGAIN,            THE        TRIAL            WITNESSES,                WE        ARE     HAPPY            TO    DISCLOSE

         THOSE.        BUT,        AGAIN,            OUR     POSITION                   IS     THAT        THE         DEPOSITIONS                   BE

     6   LIMITED       TO     THOSE            WHO           THAT            WE        DEPOSE         THE        TRIAL            WITNESSES               AND

     7   START       REALLY         FOCUSING               THIS        DISCOVERY.                    OUR         POSITION                IS

     8   CONDUCTING           DISCOVERY               IN     ORDER            TO        GET     POTENTIALLY                       MORE

     9   DISCOVERY,           THAT        THAT        TIME         HAS        PROBABLY               COME         AND         GONE,           AND,
i0       CERTAINLY,           WE'VE           PRODUCED             A        GREAT        DEAL        OF         DISCOVERY               TO     THAT

ii       END.

12                            JUDGE        KARLTON:                    MAY         I    INQUIRE?

13                            THE       PLAINTIFFS                 SAY        THAT           THEY'VE             GOT     TO        DO

14       VISITATIONS,              BECAUSE            THEY         FEAR           THAT         THE     DEFENDANTS                   ARE        GOING           TO

15       ARGUE       THAT     ANY       POSITION             THAT            THEY        TAKE        IS     OUT         OF              IS     NO

16       LONGER             THINGS         HAVE        CHANGED.                        ARE     YOUR        CLIENTS                WILLING            TO

17       STIPULATE          THAT        THE         TESTIMONY                PRESENTED               BY     THE         PLAINTIFFS                  WILL

18       NOT    BE    ATTACKED            AS        BEING        OUT         OF        DATE?         DO     YOU         UNDERSTAND                  MY

19       QUESTION?

20                           MS.        EAST:          I     DO,        YOUR            HONOR.             THE        PROBLEM             IS    THAT

21       THE    RECEIVER           IS     OUT        THERE,            AND        THE        COLEMAN            MASTER             IS    OUT        THERE.

22       TO    THE    EXTENT        THE        RECEIVER,                FOR            EXAMPLE,            IS     DOING            THINGS           E•/ERY

23       SINGLE      MONTH

24                           JUDGE         KARLTON:                    SO     THE        ANSWER            IS     NO?

25                           MS.        EAST:          I     THINK            THE        ANSWER            IS     NO.


                                         JOAN MARIE COLUMBINI, CSR, RPR
                                         OFFICIAL COURT REPORTER,  USDC
                                                             415-255-6842
Case 2:90-cv-00520-KJM-SCR                                       Document 2914-3                           Filed 08/01/08                         Page 84 38
                                                                                                                                                          of 90

     1                          JUDGE         ZARLTON:                    SO        THEN            WHAT           WE        HAVE        TO     DO        IN    ORDER

     2   TO     ENSURE         WE     HAVE        CURRENT                TESTIMONY                             I    ASK        YOU,            NOT        TELL

     3   YOU         I'M        SORT         OF        ASKING            YOU,           ANYWAY                      IS        LET        THEM         GO,
     4   BECAUSE         OTHERWISE                THEY'RE            OUT            OF     DATE?

     5                          JUDGE         HENDERSON:                           IF    THEY         LEAVE                  THAT        TRAP         OPEN           AND

     6   DON'T      COME        IN     PREPARED

     7                          MS.       F_•ST:             IT     IS.             IT'S                  CERTAINLY,                      PLAINTIFFS                   ARE

     8   OBVIOUSLY             ENTITLED                TO    BE     PREPARED.                        THERE'S                  NO    QUESTION                   ABOUT

     9   THAT.

i0                              ON     THE        OTHER            HAND,            WHAT        WE        HAVE           DONE            ARE     NUMEROUS

ii       SITE     INSPECTIONS.                     AND,            FOR     EXAMPLE,                   PLAINTIFFS'                         EXPERT               WAS     OUT

12       JUST     THIS         PAST       MONTH             IN     CONJUNCTION                      WITH            THE        SETTLEMENT

13       PROCEDURES.                 AT    SOME             POINT         THERE           MUST            BE        SOME           CUTOFF            WITH        THE

14       SITE     INSPECTIONS.

15                              JUDGE        REIN•T:                           WHAT            IS     THE           DATE           YOU        STOP

16       INTRODUCING                CHANGES?

17                             MS.        F_•ST:             I     THINK           WE     CAN         COME              TO     A    DATE         SUCH           AS

18       THAT,     YOUR         HONOR,            NO        QUESTION,                   BECAUSE,                   ABSOLUTELY,                   OTHERWISE,
19       IT'S     JUST     ALWAYS            CHANGING.

20                              JUDGE        REINHA•DT:                        SO        THE        ORDER               WOULD        NOT         BE       NO

21       FURTHER         SITE        INSPECTIONS,                    IT        WOULD            BE     AFTER                 THE     DATE            ON     WHICH

22       YOU     AGREE     THAT'S            THE            LAST     TIME               THAT        YOU        WOULD               SAY        THAT        THE

23       EVIDENCE         IS        RELEVANT?

24                             MS.        EAST:              AGREED.

25                             JUDGE         REINHARDT:                        I        THINK        THAT,               RATHER               THAN        JUST


                                           JOAN MARIE COLUMBINI,  CSR, RPR
                                           OFFICIAL COURT REPORTER,   USDC
                                                                  415-255-6842
Case 2:90-cv-00520-KJM-SCR                                        Document 2914-3                                 Filed 08/01/08                   Page 85 of39 90

          1    HAVE      AN    ORDER           NOW,        YOU        AND        THE        PLAINTIFFS                    SHOULD            GET         TOGETHER

      2-       ON   A    DATE.

      3                              MS.         EAST:            I        THINK           THAT'S               REASONABLE.                      YES,        YOUR

      4        HONOR.

      5                              •-u-DGE          HENDERSON:                       ANYTHING                   FURTHER?

      6                              MS.        •AST:             NOT           FROM        ME,            UNLESS         THERE'S                ANY

      7        QUESTIONS.

      8                              JUDGE            HENDERSON:                      THANK                YOU.

      9                              ANYONE               ELSE        FROM        DEFENDANTS                       OR     INTERVENORS?

 I0                                  MR.        KAU•HOLD:                    YOUR          HONOR,                 STEVE        KAUFHOLD                FOR     THE

 ii            LEGISLATOR            INTERVENORS.

 12                                  I        JUST     WANT           TO    UNDERSCORE                       THE        POINT         THAT         WAS       MADE

 13           ABOUT      THE     NEED           TO     HAVE,           OBVIOUSLY,                      A     DATE        CERTAIN,                AS     YOU
 14           POINTED         OUT,        JUDGE            REINHARDT,                  BUT            WE     NEED        TO         BASE     WHATEVER

 15           DECISION         THE        COURT            MAKES           ON    CURRENT                   OR     AS-CLOSE-TO-CURRENT
 16           INFORMATION                AS     WE    CAN,            IN    OUR        OPINION.

17                                   WE        THINK        IT    WOULDN'T                   DO        THE        COURT,             THE     PARTIES,               OR

18            THE     PUBLIC     ANY            SERVICE           TO        BE        TALKING                ABOUT        MAKING             A     DECISION              OF

19            THE     IMPORTANCE                AND       MAGNITUDE                   THAT        YOU            ARE     BASED         ON        WHAT        THE

20            STATE      OF    PLAY           WAS     A    YEAR            AGO        OR    MONTHS                AGO.

21                               SO,           WE     THINK            IT'S           IMPORTANT,                   AND         IF     THAT        MEANS

22            LEAVING         OPEN        SOME        AVENUES               OF    DISCOVERY                       TO     THE        PLAINTIFFS,                 THEN

23            THAT'S      WHAT        NEEDS           TO     BE       DONE.

24                               JUDGE               REINHA•T:                    IT'S            A        PROPOSAL             BY     THE        STATE        TO

25            CUT   IT    OFF.            SO     IF       YOU     WANT           TO        LEAVE            IT     OPEN         THE        WHOLE         TIME


                                                JOAN  MARIE COLUMBINI, CSR, RPR
                                                OFFICIAL COURT REPORTER,   USDC
                                                                      415-255-6842
Case 2:90-cv-00520-KJM-SCR                                             Document 2914-3                          Filed 08/01/08                            4O 90
                                                                                                                                                  Page 86 of

     1                                 MR.        KAUFHOLD:                       WELL

     2                                 JUDGE           REINHARDT:                     WE       ARE        NOT      TALKING             ABOUT           DATES            YOU

     3   ARE     TALKING                ABOUT,               THAT         THE        LEGISLATURE                  DECIDES              TO        SOLVE        THE

     4   PROBLEM             IN        THE        NEXT        THREE            WEEKS.                I     DON'T       MEAN           PASS        A    BILL.

     5   THEY     SAY         HERE'S               MONEY,               WE     WOULD           RATHER            YOU     BUILD          A     MILLION              MORE

     6   BEDS,         NO     PROBLEM.                       I'M        NOT        TALKING               ABOUT      THAT.

     7                                 I'M        TALKING               ABOUT        WHEN            CONDITIONS               WILL          ACTUALLY

     8   CHANGE.

     9                             MR.            KAUFHOLD:                    I    UNDERSTAND                   THAT,        YOUR          HONOR.

I0                                 WE        ARE            ALSO        OF     THE       OPINION,                FROM       WHAT        WE'VE               READ     AND

ii       WHAT     WE         UNDERSTAND,                      CONDITIONS                      ARE        IMPROVING            WITH          RESPECT            TO

12       THE     CONDITIONS                       IN        BOTH        CASES.                AND        WE     THINK       THE        INFORMATION

13       CONSIDERED                BY        THIS            COURT           AT     TRIAL           NEEDS         TO     BE      CURRENT,               AND        IT

14       WOULDN'T             SERVE            ANYONE               TO       HAVE        OUTDATED                TESTIMONY,                 EXPERT

15       REPORTS,            AND         SO        FORTH            FOR       YOUR            CONSIDERATION.                      SO        TO        THE     EXTENT

16       THAT     THERE            WOULD               BE     A     REQUEST              THAT            THERE     BE       NO    MORE            EVIDENCE

17       BEYOND         WHAT            HAPPENED                  SIX        MONTHS            AGO        OR     SOMETHING              LIKE           THAT,
18       THEN     WE        WOULD            PART            WAYS        WITH        THE        DEFENDANTS                  ON    THAT.

19                                 JUDGE               KARLTON:                    ASSUMING               THAT'S        A     PERSUASIVE

20       ARGUMENT,                AND        IT'S            CERTAINLY               NOT        AN        UNPERSUASIVE                 ARGUMENT,                   AT

21       SOME     POINT            WE'VE               GOT        TO     SAY               OTHERWISE,                  WHAT'S           GOING           TO

22       HAPPEN         IS        IN     THE           MIDDLE            OF        TRIAL        WE        ARE     GOING          TO     HAVE           TO     STOP

23       WHILE     EXPERTS                   GO        OUT        AND        LOOK        AT     A        PRISON        THAT'S           SUDDENLY

24       BECOME        THE         MODEL               OF     THE        WORLD.

25                                 DO        YOU        AGREE            THAT        SOMEDAY,                  WHATEVER           IT        IS,       BECOME


                                                  JOAN MARIE COLUMBINI,  CSR, RPR
                                                  OFFICIAL COURT REPORTER,   USDC
                                                                         415-255-6842
                                                                                                                                                            41
Case 2:90-cv-00520-KJM-SCR                                         Document 2914-3                       Filed 08/01/08                   Page 87 of 90

     1   THE        CUTOFF            DATE        AFTER        WHICH            NO        EVIDENCE            ABOUT         SUBSEQUENT
     2   CHANGES            WOULD           BE     APPROPRIATE?

     3                                MR.        KAUFHOLD:                 YES,           YOUR        HONOR.          OUR         POINT         IS    THAT

     4   SHOULD            BE    A        DATE     CLOSER            IN        TIME        TO    OUR     TRIAL         DATE,            NUMBER             ONE.

     5   AND        THEN        NUMBER            TWO,        IN     THE        MEANTIME,               THERE         SHOULD            BE

     6   REASONABLE                   LIMITATIONS                  ON      THE        SITE       VISITS,            THE      SAME         WAY        THERE

     7   WOULD        BE        ON        ANY     DISCOVERY,                   WITH        THE        UNDERSTANDING                 THAT         IT        WOULD

     8   BE     EXPENSIVE                  AND     INTRUSIVE.                     OUR        POINT       IS     JUST         THERE            SHOULDN'T

     9   BE     A    DEADLINE               SET     IN        THE       PAST          FOR       STALE         EVIDENCE             PRESENTED                TO

i0       THE        COURT.

Ii                                    JUDGE        REIN•gDT:                      I'M        GOING       TO     ASK       YOU       A    QUESTION

12       YOU        MAY     NOT           HAVE     THOUGHT              OF.           WHAT       SHOULD         THAT         DATE        BE,         FROM

13       YOUR        POINT           OF     VIEW?             IF     YOU        ARE       PREPARED             TO     SAY,         "I'M        NOT

14       PREPARED,"                  THAT'S         FAIR           ENOUGH.

15                                   MR.        •UFHOLD:                  I'M        NOT        PREPARED,             BUT     I'M        GOING         TO

16       ANSWER           YOU        ANYWAY.              I    WOULD            THINK           SOMETHING           MORE          TOWARD             THE     END

17       OF    THE        SUMMER            WOULD        BE        APPROPRIATE,                   AS     OPPOSED             TO    FREEZING                THE

18       STATE        OF        THE        RECORD        NOW.

19                                   JUDGE         KARLTON:                THE         END       OF     AUGUST?

20                                   MR.        KAU•HOL•:                 SOMETHING               MORE        LIKE        THAT.               THANK        YOU,

21       YOUR        HONORS.

22                                   JUDGE        HENDERSON:                     THANK           YOU,     COUNSEL.

23                                   ANY        OTHER         COMMENTS               ON     THAT        TOPIC?            OKAY.              I'VE      COME

24       TO    THE        END        OF     MY    QUESTIONS.                     DO       EITHER         OF     YOU       HAVE          ANY

25       QUESTIONS               YOU        WANT     TO        PUT        TO     COUNSEL?


                                                 JOAN MARIE COLUMBINI, CSR, RPR
                                                 OFFICIAL COURT REPORTER,  USDC
                                                                    415-255-6842
                                                                                                                                                                 42
Case 2:90-cv-00520-KJM-SCR                                     Document 2914-3                        Filed 08/01/08                           Page 88 of 90

     1                            JUDGE         KAB.LTON:                I     WANT       TO     TAKE           UP        A       DIFFERENT

     2   QUESTION,               PERHAPS,         WITH           THE         ATTORNEY            FOR        THE           STATE,               IF     I    MAY.

     3                            THE     SUGGESTION                 HAS        JUST        BEEN           MADE           THAT           WHAT        WE      DO       IS

     4   SELECT        A    DATE         AT     THE    END          OF       THE      SUMMER          AND            THAT          THAT         BE        THE

     5   CUTOFF        DATE.             DO     YOU    HAVE          A       FEELING            IN    RESPONSE                     TO     THAT?

     6                            MS.     EAST:            OFF       THE        TOP       OF     MY        HEAD,              I    THINK            PROBABLY

     7   THE     END       OF     THE     SUMMER           SOUNDS             ABOUT         RIGHT.                   IF       I    MAY

     8   DOUBLE-CHECK                   WITH     COLEMAN             JUST           TO    MAKE        SURE?

     9                            JUDGE         KARLTON:                 SURE.            WHILE            YOU        ARE          DOING            THAT,

i0       PLAINTIFFS               RESPOND.             GO       AHEAD.               PLAINTIFFS                      RESPOND.

ii                               MR.      BIEN:            YOUR          HONOR,           WE     WOULD           AGREE              WITH            THAT.

12       MEAN,     I       THINK         THERE'S           A    NEED           TO    HAVE        SOME           DATE              WHERE         THE

13       PARTIES           AGREE         THAT     THAT'S             THE        END       OF     DISCOVERY                        AND     WE        ARE     GOING

14       TO     PRESENT           EVIDENCE            AS       OF    THAT           TIME.

15                                JUDGE        KARLTON:                  ALL        RIGHT.

16                               MS.      EAST:            THE       END        OF       AUGUST,            I    THINK,                  YOUR        HONOR,

17       SOUNDS        REASONABLE                TO    US.

18                               JUDGE         KAP.LTON:                 THANK           YOU.

19                               JUDGE         HENDERSON:                     SO     WE     WILL       EXPECT                     COUNSEL            TO     MEET

20       AND     CONFER          AND,         HOPEFULLY,                 COME        UP     WITH       A        DATE              THAT     SATISFIES

21       EVERYONE.

22                               JUDGE         KAB.LTON:                 BUT        THAT'S           GOING            TO          HAVE     TO        BE

23       PROMPT.            WE     ARE        GOING        TO       START           ISSUING           ORDERS.                      THANK            YOU.

24                               JUDGE         HENDERSON:                    OKAY.              THANK           YOU,              COUNSEL.                 AND

25       JOUR     COMMENTS               HAVE     BEEN          VERY         HELPFUL,                AND        WE        APPRECIATE                      THEM.


                                              JOAN MARIE COLUMBINI,  CSR, RPR
                                              OFFICIAL COURT REPORTER,   USDC
                                                                415-255- 6842
Case 2:90-cv-00520-KJM-SCR                            Document 2914-3                          Filed 08/01/08             Page 89 43
                                                                                                                                  of 90

         WE'LL       GET     OUT    A    SCHEDULING           ORDER            AS     SOON       AS     WE    POSSIBLY        CAN.

                              AND       LET    ME    ASK     MR.        LUI,         IS    THERE        ANY       RESPONSES        TO

         ANY    OF     THIS     THAT      YOU       WOULD     LIKE           TO     MAKE?

                              MR.       LIU:        NO,    YOUR         HONOR.             I    MADE     MY       REMARKS,     THANK

         YOU.

                              JUDGE       HENDERSON:                LET        ME     THANK        YOU       AND    JUSTICE

         SIGGINS        AGAIN.           YOU    HAVE       DONE         A    REMARKABLE               JOB.

                              MR.       LIU:        I'LL     RELAY           YOUR         COMMENTS           TO    HIM.

     9                        JUDGE       KARLTON:            MAY.I            ASK        MY    SPECIAL           MASTER     WHO

i0       HAPPENS        TO    BE    HERE.           MATTY,         IS       THERE         ANYTHING           WE    SHOULD     BE

ii       DISCUSSING,           THAT       YOU'VE          HEARD         THAT'S            GOT    YOU...

12                            JUDGE       HENDERSON:                OKAY.             COURT        IS    ADJOURNED.            THANK

13       YOU    VERY       MUCH.

14                            (PROCEEDINGS            ADJOURNED.)

15

16

17



19

2O

21

22

23

24

25


                                         JOAN MARIE COLUMBINI,  CSR, RPR
                                         OFFICIAL COURT REPORTER,   USDC
                                                          415-255-6842
                                                                                                                                      44
Case 2:90-cv-00520-KJM-SCR                           Document 2914-3                     Filed 08/01/08                 Page 90 of 90

     1

 2

 3                                             CERTIFICATE              OF     REPORTER

     4                    I,    JOAN       MARIE      COLUMBINI,             OFFICIAL              REPORTER         FOR         THE

 5       UNITED     STATES           COURT,     NORTHERN           DISTRICT              OF     CALIFORNIA,               HEREBY

 6       CERTIFY     THAT        THE       FOREGOING         PROCEEDINGS                 IN     LS-90-0520               LKK,

     7   COLEMAN     V.        SCHWARZENEGGER,               AND    C     01-1351              TEH,        PLATA    V.

     8   SCHWARZENEGGER,               WERE     REPORTED           BY    ME,        A    CERTIFIED               SHORTHAND

 9       REPORTER,         AND       WERE     THEREAFTER           TRANSCRIBED                  UNDER        MY    DIRECTION

i0       INTO    TYPEWRITING;               THAT      THE    FOREGOING              IS    A     FULL,        COMPLETE            AND

ii       TRUE    RECORD         OF    SAID     PROCEEDINGS              AS     BOUND          BY      ME    AT    THE     TIME        OF

12       FILING.

13                         THE       VALIDITY         OF    THE    REPORTER'S                  CERTIFICATION               OF     SAID

14       TRANSCRIPT            MAY    BE    VOID     UPON     DISASSEMBLY                 AND/OR            REMOVAL        FROM        THE

15       COURT     FILE.

16

17                                             /S/     JOAN       MARIE        COLUMBINI

18                                   JOAN     MARIE        COLUMBINI,              CSR    5435,            RPR

19                                              FRIDAY,           JULY       Ii,        2008

20

21

22

23

24

25
